              Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 1 of 97




 1
 2
 3
 4
 5
 6
 7
                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
 8
 9
     ERIC YOUNG; AND ADAM KURTZ,                 Case No.
10   on behalf of themselves and all others
     similarly situated,                         CLASS ACTION COMPLAINT
11
12                     Plaintiffs,               Jury Trial Demanded
13
                       v.
14
     IFINEX INC.; BFXNA INC.; BFXWW INC.;
15   TETHER HOLDINGS LIMITED; TETHER
16   LIMITED; DIGFINEX INC.; TETHER
     OPERATIONS      LIMITED;     TETHER
17   INTERNATIONAL LIMITED; AND JOHN
     DOES 1-50,
18
19                     Defendants.
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - i
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 2 of 97




 1                                                  TABLE OF CONTENTS
     NATURE OF THE ACTION ......................................................................................................... 1
 2
     JURISDICTION, VENUE AND COMMERCE ............................................................................ 3
 3   PARTIES ........................................................................................................................................ 5
 4      I.     PLAINTIFFS ................................................................................................................ 5
 5      II.    DEFENDANTS ............................................................................................................ 5
            A.      iFinex Inc. ............................................................................................................... 5
 6
            B.      Bitfinex ................................................................................................................... 6
 7          C.      DigFinex ................................................................................................................. 6
 8          D.      Tether ..................................................................................................................... 6
           E.   John Does 1-50 ....................................................................................................... 7
 9
           F.   Agents and Affiliates .............................................................................................. 8
10
     SUBSTANTIVE ALLEGATIONS ................................................................................................ 8
11     I.     OVERVIEW OF THE BITCOIN MARKET ............................................................... 8
12         A.   Overview of Bitfinex and USD₮ ............................................................................ 8
           B.   History of USD₮ Issuances .................................................................................. 20
13
       II.    DEFENDANTS MANIPULATED BITCOIN TO INCREASE TRADING
14            PROFITS..................................................................................................................... 27
15         A.   Defendants Issued USD₮s to Inflate Bitcoin Prices ............................................. 27
           B.   Defendants Engaged in Wash Trades Through Intermediaries ............................ 36
16
           C.   Bitfinex and Tether Failed to Maintain Sufficient U.S. Reserves ........................ 40
17        III.Economic Analysis Supports the Existence of Defendants’ Manipulation ................ 46
18         A.    Economic Analysis of USD₮ Flows to U.S.-Based Cryptocurrency
                 Exchanges Evidences “U-Shaped” Pattern ........................................................... 51
19
           B.    CFTC and DOJ Investigations .............................................................................. 61
20     IV.    MANIPULATION OF BITCOIN FUTURES ............................................................ 63
21         A.    Bitcoin Futures Market ......................................................................................... 63
           B.    Bitcoin Futures Prices are Inextricably Linked to the Price of Spot Bitcoin ........ 68
22
           C.    Defendants Manipulated Bitcoin Futures ............................................................. 72
23   RELEVANT MARKET................................................................................................................ 77
24   CLASS ACTION ALLEGATIONS ............................................................................................. 77
25   FRAUDULENT CONCEALMENT ............................................................................................. 80
     CLAIMS FOR RELIEF ................................................................................................................ 85
26
     PRAYER FOR RELIEF ............................................................................................................... 93
27   JURY DEMAND .......................................................................................................................... 94
28


     CLASS ACTION COMPLAINT - ii
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 3 of 97



            Plaintiffs Eric Young and Adam Kurtz, individually and on behalf of themselves and all
 1
 2   those similarly situated, as defined below, brings this class action for treble damages and alleges

 3   as follows:
 4                                    NATURE OF THE ACTION
 5
            1.      During the period October 1, 2014 through and including the present (the “Class
 6
     Period”), Tether Defendants issued and maintained a stablecoin known as Tether (“USD₮”),
 7
 8   which is a digital token whose value is anchored to the U.S. dollar. Defendants claimed to have

 9   maintained a one-to-one reserve ratio between USD₮ and the U.S. dollar.
10
            2.      At all relevant times, Tether Defendants maintained the exclusive ability to issue
11
     and remove USD₮, including the timing of USD₮ issuances and removals. During the Class
12
     Period, USD₮ remained the most used stablecoin in the world and the overwhelming majority of
13
14   Bitcoin trading volume involved USD₮.         While Tether Defendants’ initial USD₮ issuance
15   occurred in October 2014, Tether began issuing USD₮ more regularly and in greater volume in
16
     2017 and 2018.
17
            3.      During the Class Period, Defendants, through their unique control and access to
18
19   printing USD₮, manipulated prices of Bitcoin by issuing USD₮ unbacked by a 1:1 U.S. dollar

20   reserve and using the newly created USD₮ to purchase Bitcoin through U.S.-based
21   cryptocurrency exchanges Bittrex and Poloniex.        Defendants’ unbacked printing of USD₮
22
     artificially inflated the price of Bitcoin, which enabled Defendants to extract supra-competitive
23
     profits from Bitcoin traders. Specifically, Plaintiffs’ analysis demonstrated that Bitcoin returns
24
25   generally declined just before the USD₮ issuance dates and improved afterwards. Moreover,

26   Defendants’ inside information about USD₮ issuances enabled Defendants to sell Bitcoin once
27
28


     CLASS ACTION COMPLAINT - 1
                  Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 4 of 97



     Bitcoin prices were artificially inflated, thus permitting Defendants to replenish Tether
 1
 2   Defendants’ U.S. dollar reserves.

 3          4.      In addition, by manipulating the price of Bitcoin, Defendants necessarily
 4   manipulated the market for derivatives linked to Bitcoin, including Bitcoin futures traded on the
 5
     Chicago Mercantile Exchange (“CME”) and Chicago Board Options Exchange (“Cboe”).
 6
     Bitcoin futures provide a wide variety of market participants the ability to gain exposure to
 7
 8   Bitcoin and hedge Bitcoin price exposure.

 9          5.      Bitcoin and Bitcoin futures prices run in parity, or lockstep, in the same direction.
10
     Pricing trends in the Bitcoin spot market directly impact Bitcoin futures prices. Bitcoin futures
11
     and Bitcoin futures traders necessarily rely on the spot prices of Bitcoin for price discovery and
12
     for assessing prices of Bitcoin futures. Given the lockstep price correlation between Bitcoin and
13
14   Bitcoin futures prices, any increase or decrease in Bitcoin prices are immediately and
15   correspondingly reflected in Bitcoin futures prices.
16
            6.      As detailed herein, including through statistical analysis, Defendants’ conduct
17
     resulted in artificial prices in Bitcoin and Bitcoin futures, throughout the Class Period, and
18
19   otherwise harmed the legitimate forces of supply and demand in the Bitcoin market and related

20   on-exchange market. This statistical evidence is original and has not been presented before in
21   any court or public forum. The statistical evidence further demonstrates that Defendants, their
22
     co-conspirators, and John Does 1-50 had the ability to cause artificial prices in Bitcoin and
23
     Bitcoin futures, which in fact caused artificial prices in Bitcoin and Bitcoin futures.
24
25          7.      Plaintiffs have been injured by paying artificial and anticompetitive prices for

26   Bitcoin as a direct and proximate result of Defendants’ unlawful conduct alleged herein.
27
     Plaintiffs and other members of the Class were deprived of trading in a lawful competitive
28


     CLASS ACTION COMPLAINT - 2
                  Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 5 of 97



     market for Bitcoin and Bitcoin futures during the Class Period and have been injured in their
 1
 2   businesses and property.

 3          8.      Plaintiffs are Bitcoin traders, and thus are best situated to bring claims on behalf
 4   of other traders of Bitcoin and Bitcoin futures. The claims asserted by Plaintiffs include various
 5
     claims under the Commodity Exchange Act, the Sherman Act, and the Racketeer Influenced and
 6
     Corrupt Organization Act (“RICO”). Plaintiffs’ claims are made on information and belief based
 7
 8   on the investigation conducted by and under the supervision of Plaintiffs’ counsel.           That

 9   investigation included reviewing and analyzing information concerning Defendants and Bitcoin,
10
     which Plaintiffs (through their counsel) obtained from, among other sources: (1) reports on the
11
     Bitcoin market; (2) pricing data for Bitcoin; (3) pricing data for Bitcoin futures; (4) analyses by
12
     consulting experts engaged by Plaintiffs; (5) publicly available press releases, news articles, and
13
14   other media reports related to investigations into Bitcoin and Defendants; and (6) court filings
15   Defendants and governmental entities made related to Defendants.
16
            9.      Except as alleged in this complaint, neither Plaintiffs nor other members of the
17
     public have access to the underlying facts relating to Defendants’ improper conduct. Rather, that
18
19   information lies exclusively within the possession, custody, or control of Defendants, their co-

20   conspirators, and John Doe 1-50, which prevents Plaintiffs from further detailing Defendants’
21   misconduct. Plaintiffs believe further evidentiary support for their allegations will come to light
22
     after a reasonable opportunity for discovery.
23
                            JURISDICTION, VENUE AND COMMERCE
24
25          10.     This action arises under Section 2 of the Sherman Act (15 U.S.C. § 2), Sections 4

26   and 16 of the Clayton Act (15 U.S.C. §§ 15, 26), and Sections 2(a), 6(c), and 22 of the
27
     Commodity Exchange Act (“CEA”) (7 U.S.C. § 1 et seq.). The action is for compensatory
28


     CLASS ACTION COMPLAINT - 3
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 6 of 97



     damages, treble damages, costs of suit, reasonable attorneys’ fees, and such other relief as the
 1
 2   Court may deem to be just and proper.

 3           11.     This Court has federal question subject matter jurisdiction under 28 U.S.C.
 4   §§ 1331 and 1337, Sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15, 26(a), Section 22 of
 5
     the CEA, 7 U.S.C. § 25, and 18 U.S.C. § 1964(c) of RICO.
 6
             12.     This court has personal jurisdiction over Defendants, as each Defendant
 7
 8   transacted business, commerce, and trading in the U.S. and in this District during the periods of

 9   price manipulation alleged herein. Each Defendant also has substantial contacts within the U.S.,
10
     including in this District, and engaged in multiple acts in furtherance of its conspiracy in the
11
     U.S., including in this District. Defendants, therefore, should have foreseen the possibility of
12
     being brought before this Court as a result of Defendants’ wrongful conduct.
13
14           13.     Venue is proper in this District, pursuant to, among other statutes, Section 22 of
15   the CEA, 7 U.S.C. § 25(c), 15 U.S.C. § 22, 28 U.S.C. § 1391(b), (c), and (d), and Section 1965
16
     of RICO (18 U.S.C. § 1965). At all times, Defendants transacted in this District and a substantial
17
     part of the events giving rise to the claims asserted herein occurred in this District.
18
19           14.     Defendants made use of the means and instrumentalities of interstate commerce,

20   including interstate wires, in connection with Defendants’ unlawful acts and practices and
21   courses of business alleged in this Complaint. Defendants’ monopolization and anticompetitive
22
     conduct were within the flow of the interstate commerce of the United States and were intended
23
     to, and did, in fact, have a substantial effect on the interstate commerce of the United States.
24
25   Defendants’ conspiracy and Defendants’ overt acts taken in furtherance of it, were directed at,

26   and had the intended effect of, causing injury to persons residing in, located in, or doing business
27
     in the United States, including in this District.
28


     CLASS ACTION COMPLAINT - 4
                     Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 7 of 97



                                                         PARTIES
 1
 2        I.         PLAINTIFFS

 3             15.     Plaintiff Eric Young was at all times a resident of the Commonwealth of
 4   Pennsylvania. Plaintiff transacted in Bitcoin during the Class Period at artificial prices.
 5
               16.     Plaintiff Adam Kurtz was at all times a resident of the State of New York.
 6
     Plaintiff transacted in Bitcoin during the Class Period at artificial prices.
 7
 8             17.     Because of Defendants’ monopolization and anticompetitive conduct described in

 9   this Complaint, Plaintiffs suffered damages from a manipulated Bitcoin and Bitcoin futures
10
     market.
11
         II.         DEFENDANTS
12
13             A.      iFinex Inc.

14             18.     Defendant iFinex Inc. (“iFinex”) is a corporation organized under the laws of the

15   British Virgin Islands with its principal place of business located at Suite 13/F, 1308 Bank of
16
     America Tower, 12 Harcourt Road Central, Hong Kong.
17
               19.     Defendant iFinex Inc. wholly owns Defendants Bitfinex.1                       During the Class
18
19   Period, Defendant Bitfinex and the Tether Defendants shared a unity of corporate interest, with

20   shared management2 and investors, and operated as part of a single enterprise in furtherance of a
21   monopolization that was directed at, and had the intended effect of, causing injury to persons
22
     residing in, located in, or doing business in the United States, including in this District.
23
24
25
26   1
      Aff. of Brian M. Whitehurst at ¶ 8, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019 (N.Y.
27   Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 1.
     2
      For example, Tether and Bitfinex shared the same chief executive officer, chief financial officer, and general
28   counsel.


     CLASS ACTION COMPLAINT - 5
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 8 of 97



                 B.      Bitfinex
 1
 2               20.     Defendants BFXNA Inc. (“BFXNA”) and BFXWW Inc. (“BFXWW”)

 3   (collectively, “Bitfinex”) are wholly-owned subsidiaries of iFinex incorporated under the laws of
 4   the British Virgin Islands with their principal place of business located at Suite 13/F, 1308 Bank
 5
     of America Tower, 12 Harcourt Road Central, Hong Kong.
 6
                 21.     Together, BFXNA and BFXWW operate the online cryptocurrency exchange
 7
 8   called “Bitfinex,”3 with BFXNA contracting with U.S.-based customers and BFXWW

 9   contracting with non-U.S.-based customers.4
10
                 22.     Bitfinex Defendants are wholly owned subsidiaries of Defendant iFinex Inc.
11
                 C.      DigFinex
12
                 23.     Defendant DigFinex Inc. (“DigFinex”) is a corporation organized under the laws
13
14   of the British Virgin Islands with its principal place of business located at Jayla Place Wickhams

15   Cay 1, Road Town, Tortola, British Virgin Islands.5
16
                 24.     DigFinex is the ultimate parent company and majority owner of Tether and
17
     iFinex,6 and is operated by the same individuals that own and operate Bitfinex and Tether.7
18
19               D.      Tether

20               25.     Defendant Tether Holdings Limited is a corporation organized under the laws of
21   the British Virgin Islands with its principal place of business located at 17F-1, No. 266 Sec. 1,
22
     Wenhua Road., Banqiao District, New Taipei City, Taiwan 22041.
23
     3
      Aff. of Brian M. Whitehurst at ¶ 10, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
24   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 1.
     4
25       Id. at ¶ 7.
     5
      Aff. of Brian M. Whitehurst at Ex. M, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
26   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 94.
     6
27    Aff. of Brian M. Whitehurst at ¶ 16, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 1.
28   7
         Id. at ¶ 88.


     CLASS ACTION COMPLAINT - 6
                         Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 9 of 97



                 26.      Defendant Tether Limited, a wholly owned subsidiary of Tether Holdings
 1
 2   Limited, is a corporation organized under the laws of Hong Kong and headquartered in Taiwan.

 3               27.      Defendant Tether Operations Limited, a wholly owned subsidiary of Tether
 4   Holdings Limited, is a corporation organized under the laws of Hong Kong. Tether Operations
 5
     Limited is responsible for processing trades made by Tether’s U.S.-based investors.
 6
                 28.      Defendant Tether International Limited, a wholly owned subsidiary of Tether
 7
 8   Holdings Limited, is a corporation organized under the laws of Hong Kong. Tether International

 9   Limited is responsible for processing Tether’s non-U.S.-based investors.
10
                 29.      Defendants Tether Holdings Limited, Tether Limited, Tether Operations Limited,
11
     and Tether International Limited are collectively referred to as “Tether” or the “Tether
12
     Defendants.”
13
14               30.      Tether Defendants are majority owned by Defendant DigFinex and is operated by
15   the same individuals that own and operate iFinex and DigFinex, which together operated an
16
     enterprise that controlled the issuance of USD₮.8 Specifically, Ludovicus Jan van der Velde and
17
     Giancarlo Devasini are directors and owners of Defendants DigFinex, iFinex, and Tether.9
18
19               E.       John Does 1-50

20               31.      Defendants John Does 1-50 are persons and entities, financial institutions, and/or
21   trading firms that directly or indirectly participated in the manipulation and anticompetitive
22
     conduct in connection with Bitcoin and the Bitcoin futures market, as described herein.
23
                 32.      The identity of individuals and firms that trade Bitcoin and/or Bitcoin CME or
24
25   Cboe futures is anonymous and not available to the public. Plaintiffs will be able to identify the

26   John Doe Defendants through discovery of various cryptocurrency exchanges and trading
27
     8
         Id. at ¶ 16.
28   9
         Id. at Ex. K.


     CLASS ACTION COMPLAINT - 7
                     Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 10 of 97



     records in possession of the CME Group Inc. that it is required to be maintained under the CEA
 1
 2   including, but not limited to, cleared, executed trade data, audit trail data, Order Entry Operator

 3   identifications, Tag 50 IDs, User Assigned IDs, and Clearing Information.
 4             F.      Agents and Affiliates
 5
               33.     The defined term “Defendants,” as used herein, includes each of the named
 6
     Defendant’s predecessors, successors, parents, wholly owned or controlled subsidiaries, and/or
 7
 8   affiliates, employees, officers, and directors.

 9             34.     Whenever reference is made to any act, deed, or transaction of any corporation,
10
     the allegation means that the corporation engaged in the act, deed, or transaction by or through
11
     its officers, directors, agents, employees, representatives, parents, predecessors, or successors-in-
12
     interest while they were actually engaged in the management, direction, control, or transaction of
13
14   business or affairs of the corporation.
15             35.     Each named Defendant herein acted as the agent of, or participated in a joint
16
     venture for, all other Defendants with respect to the acts, violations, and common course of the
17
     conduct alleged herein.
18
19                                       SUBSTANTIVE ALLEGATIONS

20        I.         OVERVIEW OF THE BITCOIN MARKET
21             A.      Overview of Bitfinex and USD₮
22
               36.     Virtual currencies, also known as cryptocurrencies, are digital assets that are used
23
     as a medium of exchange. The overwhelming majority of cryptocurrencies trade on a centralized
24
25   exchange10 known as cryptocurrency exchanges, which seek to match buyers and sellers of a

26   virtual currency. Bitcoin (“BTC”) is currently the world’s most highly valued, widely traded,
27
     10
28     Tether: Fiat Currencies on the Bitcoin Blockchain, Tether, https://tether.to/wp-
     content/uploads/2016/06/TetherWhitePaper.pdf (last visited Nov. 21, 2019).


     CLASS ACTION COMPLAINT - 8
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 11 of 97



     and liquid cryptocurrency.11 Figure 1 below depicts the trading volume of Bitcoin in 2017 and
 1
 2   2018 on four (4) cryptocurrency exchanges: Bittrex, Coinbase, Gemini, and Kraken.

 3                        Figure 1 – Trading Volume of Bitcoin Between 2017 and 2018
 4
 5
 6
 7
 8
 9
10
11
12
13
14
                37.      In 2014, Defendant Tether Limited launched a blockchain-enabled digital token
15
     called tether, which Defendant Tether Limited purports to be backed by fiat currencies, such as
16
17   the U.S. dollar, held in Defendant Tether Limited’s reserve bank accounts. Tether backed by the

18   U.S. dollar is known as USD₮, whereas tether backed by the Euro is known as EURT. At all
19
     relevant times, Tether Defendants claimed to have maintained a one-to-one reserve ratio between
20
     the digital token and the associated fiat currency.12
21
                38.      Tether Defendants purport that one tether USD₮ equals one U.S. dollar. USD₮ is
22
23   known as a “stablecoin,” which is a digital token whose value is anchored to the value of the fiat

24   currency. As of October 2019, USD₮ is arguably “the most important coin in the crypto
25
26
     11
27     CME Submission No. 17-417, CME Group, (Dec. 1, 2017),
     https://www.cmegroup.com/content/dam/cmegroup/market-regulation/rule-filings/2017/12/17-417.pdf.
28   12
          Tether: Fiat Currencies on the Bitcoin Blockchain, supra note 10.


     CLASS ACTION COMPLAINT - 9
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 12 of 97



     ecosystem” with monthly trading volume approximately 18% greater than Bitcoin.13
 1
 2               39.      Prior to late February 2019, Tether Defendants publicly stated on its website that

 3   “[e]very tether [USD₮] is always backed 1-to-1, by traditional currency held in our reserves. So
 4   1 USD₮ is always equivalent to 1 USD.”14
 5
                 40.      Similarly, Tether Defendants’ whitepaper regarding fiat currencies on the Bitcoin
 6
     blockchain stated that each USD₮ is fully “backed” by one U.S. dollar15 and that “[a]t any given
 7
 8   time the balance of fiat currency held in our reserves will be equal to (or greater than) the

 9   number of tethers in circulation.”16 Tether Defendants’ whitepaper further notes that, “each
10
     tetherUSD in circulation represents one US dollar held in our reserves (i.e. a one-to-one ratio)
11
     which means the system is fully reserved when the sum of all tethers in existence (at any point in
12
     time) is exactly equal to the balance of USD held in our reserve.”17
13
14               41.      As of March 4, 2019, Tether Defendants amended its description of USD₮ to
15   state that USD₮ is “backed by our reserves.”18
16
                 42.      Each USD₮ transaction contains the intermediary wallet IDs of the sender and
17
     recipient, usually delineated by a string of 34 characters and numbers. These digital wallet IDs
18
19   permit users to send, receive, and transact in Bitcoin and other virtual currencies. Tether

20   Defendants publicly report a “richlist” of digital wallets of the tether blockchain.19 In addition,
21
22   13
       Olga Kharif, The World’s Most-Used Cryptocurrency Isn’t Bitcoin, Bloomberg (Sept. 30, 2019),
     https://www.bloomberg.com/news/articles/2019-10-01/tether-not-bitcoin-likely-the-world-s-most-used-
23   cryptocurrency.
     14
24        Tether.to (Jan. 17, 2019), https://web.archive.org/web/20190117041854/https://tether.to/.
     15
       Jeff Wise, Is the Price of Bitcoin Based on Anything at All?, Medium (Aug. 22, 2018),
25   https://medium.com/s/story/is-the-price-of-bitcoin-based-on-anything-at-all-8989790678e9.
     16
26        Tether: Fiat currencies on the Bitcoin Blockchain, supra note 10.
     17
          Tether: Fiat currencies on the Bitcoin Blockchain, supra note 10, at 9.
27
     18
          FAQs, Tether, https://tether.to/faqs/ (last visited Nov. 21, 2019).
28   19
          See Rich List, Tether, https://wallet.tether.to/richlist (last visited Nov. 21, 2019).


     CLASS ACTION COMPLAINT - 10
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 13 of 97



     the Omniexplorer, an online repository of all confirmed USD₮ transactions, maintains a listing
 1
 2   of digital wallets assigned to the tether blockchain.

 3              43.      According to counsel for Tether Defendants, Tether issues USD₮s when an
 4   investor requests to purchase USD₮s by depositing U.S. dollars with Tether Defendants or
 5
     another trading platform authorized to accept dollar deposits in exchange for USD₮s.20
 6
                44.      Once Tether Defendants issue USD₮s, those USD₮s are transferred from Tether’s
 7
 8   “treasury wallet” directly to Bitfinex. At all times, Tether Defendants maintain control over

 9   Tether’s “treasury wallet.” After the Tether Defendants transfer the newly issued USD₮s to
10
     Bitfinex, they are transferred to one of several exchanges, with nearly two-thirds of the USD₮s
11
     transferred to U.S.-based exchanges Bittrex and Poloniex.
12
                45.      Given Tether’s integral role with Bitcoin transactions, it is essential that Tether
13
14   Defendants maintain sufficient U.S. dollar reserves on hand in order to execute withdrawal
15   orders from customers. At all times during the Class Period, USD₮ was the main stablecoin by
16
     which other cryptocurrencies were priced, including Bitcoin.21
17
                46.      During the Class Period, Tether Defendants’ USD₮ supply was significantly
18
19   larger than any other stablecoin. For example, in October 2018, Tether was nearly five times

20   larger than the next five stablecoins combined and accounted for approximately 84% of the total
21   supply of stablecoins on the Omni Layer Protocol. The approximate remaining percentage of
22
     stablecoins collectively were accounted for by Circle USDC (“USDC”), Maker Dai (“DAI”),
23
     Paxos Standard (“PAX”), and TrustToken TrueUSD (“TUSD”).22 Figures 2 and 3 below detail
24
25
     20
       Aff. of Brian M. Whitehurst at ¶ 34, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
26   (N.Y. Sup. Ct., N.Y. County Apr. 25, 2019), NYSCEF No. 1.
     21
27        See Is the Price of Bitcoin based on Anything At All?, supra note 15.
     22
        Alex Vikati, Tether vs Other Stablecoins, Medium (Oct. 19, 2018), https://medium.com/@vikati/tether-vs-other-
28   stablecoins-96b6846a9b7.


     CLASS ACTION COMPLAINT - 11
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 14 of 97



     the total supply by stablecoin as of October 2018.
 1
 2                          Figure 2 – Omni Layer Protocol Supply by Stablecoin23

 3
 4
 5
 6
 7
 8
 9
10                          Figure 3 – Omni Layer Protocol Supply by Stablecoin24

11
12
13
14
15
16
17
18
19
20
21
22
23              47.     Tether was nearly five times larger than the next five stablecoins combined and

24   accounted for approximately 84% of the total supply of stablecoins on the Omni Layer Protocol.
25              48.     Moreover, during the Class Period, the overwhelming majority of total volume
26
27
     23
          Id.
28   24
          Id.


     CLASS ACTION COMPLAINT - 12
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 15 of 97



     transacted involving Bitcoin was done through USD₮. For example, as of September 2019,
 1
 2   approximately 70.95% of all total monthly Bitcoin volume traded into fiat or stablecoin was

 3   executed using USD₮. Figure 4 below details the proportion of total monthly Bitcoin trading
 4   into different fiat currencies and stablecoin as of September 2019.
 5
                            Figure 4 – Total Monthly Bitcoin Trading into Fiat or Stablecoins
 6                                         Between July and September 201925
 7
 8
 9
10
11
12
13
14
15
16              49.      As of September 2019, USD₮ remained the most used stablecoin in the world.26
17   During the Class Period, the majority of Tether Defendants’ USD₮ issuances were routed
18
     through related entity Bitfinex, a fiat-to-cryptocurrency exchange owned and operated by
19
     Defendant iFinex, the owner of Tether.                In turn, nearly two-thirds of Tether Defendants’
20
21   issuances routed through Defendant Bitfinex flowed through U.S.-based cryptocurrency

22   exchanges Bittrex and Poloniex. Founded in 2012, Bitfinex is the “world’s largest exchange by
23   volume for trading Bitcoin against the US Dollar.”27 Through Bitfinex, customers can deposit,
24
     trade, and withdraw various cryptocurrencies such as Bitcoin and Ethereum. Bitfinex earns
25
     25
       Exchange Review September 2019, CryptoCompare,
26   https://www.cryptocompare.com/media/35651687/cryptocompare_exchange_review_2019_09.pdf?blog.
     26
27        Kharif, supra note 13.
     27
      What is Bitfinex, Bitfinex, https://support.bitfinex.com/hc/en-us/articles/213892209-What-is-Bitfinex- (last visited
28   Nov. 21, 2019).


     CLASS ACTION COMPLAINT - 13
                         Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 16 of 97



     revenue by charging investors a transaction fee for all trades on its platform.28
 1
 2               50.       In addition, Bitfinex is a fiat-to-crypto exchange, meaning that customers could

 3   deposit and withdraw U.S. dollars, euros, pounds, and yen.29 These deposits can then be stored
 4   or exchanged for USD₮ or cryptocurrencies, such as Bitcoin. Once a customer makes a deposit,
 5
     Tether Limited issues USD₮s. At all relevant times, Tether Defendants maintained the exclusive
 6
     right to issue or remove USD₮ from the market.30
 7
 8               51.       Prior to August 2017, Bitfinex had little or no restrictions on whether U.S.-based

 9   investors could access Bitfinex’s trading platform, which meant that U.S.-based investors were
10
     able to create and fund accounts, trade, and withdraw funds.31 In August 2017, Bitfinex began to
11
     restrict U.S.-based individual investors’ access to trading on Bitfinex, thus preventing them from
12
     trading, creating accounts, and withdrawing funds.32 However, Bitfinex continued to permit
13
14   U.S.-based business entities access to Bitfinex until approximately August 2018. 33 Tether’s
15   Terms of Service did not specifically prohibit redemption of tether by U.S.-based individuals or
16
     business entities until November 2018.34
17
                 52.       In addition, despite Bitfinex’s restrictions on U.S.-based investors, documents
18
19   obtained by the State of New York Office of the Attorney General (“OAG”) revealed that

20   Bitfinex still permitted customers located in New York to continue to transact on Bitfinex.35
21
     28
22        Id.
     29
       Aff. of Brian M. Whitehurst at ¶ 23, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
23   (N.Y. Sup. Ct., N.Y. County Apr. 25, 2019), NYSCEF No. 1
     30
24        Id. at ¶ 34.
     31
          Id.at ¶ 24.
25   32
          Id.
26   33
          Id.
     34
27     Aff. of Brian M. Whitehurst at ¶ 16, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.
28   35
          Id. at ¶ 9.


     CLASS ACTION COMPLAINT - 14
                         Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 17 of 97



     Moreover, the documents obtained by the New York OAG demonstrate that Defendants
 1
 2   knowingly flouted restrictions intended to preclude U.S.-based investors from accessing and

 3   transacting on Bitfinex.
 4               53.       For example, in an e-mail dated January 24, 2018, Giancarlo Devasini, the Chief
 5
     Financial Officer of Bitfinex,36 wrote to a U.S.-based Bitfinex customer and Jeffrey Wallis, an
 6
     employee of Noble Bank Ltd., a bank that Bitfinex and Tether Limited used at the time, “Jeffrey:
 7
 8   please take good care of [REDACTED], he’s a very good customer of ours. You guys are both

 9   in New York and I think you should meet[.]”37 The document demonstrates that Bitfinex’s CFO
10
     knew that a U.S.-based customer was accessing Bitfinex in contravention of Bitfinex’s stated
11
     terms of service, which prohibited U.S.-based individual investors from accessing and trading on
12
     Bitfinex as of August 2017.
13
14               54.       Similarly, in another e-mail dated January 24, 2018, Giancarlo Devasini sent an e-
15   mail to Paola Ardoino, Chief Technology Officer at Bitfinex, Bjorn De Wolf, Customer Support
16
     Manager at Bitfinex, and Philip Potter, Chief Strategy Officer at Bifinex, and a U.S.-based
17
     Bitfinex customer.38 Mr. Devasini wrote, “Guys please meet [REDACTED], our main contact at
18
19   [REDACTED], big trading company in New York.”39 Mr. Devasini also noted that “Phil Potter .

20   . . will be glad to help you with anything related to your trading activity” and that “Bjorn De
21   Wolf . . . will help you with green-laning your addresses for a faster confirmation of your coin
22
     withdrawals.”40
23
24   36
          Id. at ¶ 37.
     37
25     Aff. of Brian M. Whitehurst at Ex. D, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 85.
26   38
       Aff. of Brian M. Whitehurst at Ex. E, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 86.
27
     39
          Id.
28   40
          Id.


     CLASS ACTION COMPLAINT - 15
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 18 of 97



                55.     This e-mail clearly demonstrates that multiple senior executives at Bitfinex not
 1
 2   only knew that U.S.-based customers were accessing Bitfinex, in violation of Bitfinex’s stated

 3   terms of service, but that Bitfinex senior executives, including the Chief Strategy Officer, Chief
 4   Financial Officer, and Chief Technology Officer, were willing to aid and abet a U.S.-based
 5
     investor’s trading activities in violations of Bitfinex’s stated terms of service.
 6
                56.     Defendants’ brazen disregard for Bitfinex’s stated terms of service, namely in
 7
 8   permitting U.S.-based investors access to trade on Bitfinex, continued well into 2018 and 2019.

 9   In October 2018, Defendants “onboarded”41 Galaxy Digital L.P., a U.S.-based trading firm
10
     located at 107 Grand Street in New York, New York, and its associated entities, to trade on
11
     Bitfinex.42 Moreover, the correspondence between Bitfinex and Galaxy clearly notes that the
12
     address for Galaxy Digital L.P. was located in New York.43 Defendants knew, or should have
13
14   known, that Galaxy Digital L.P. and its associated entities were U.S.-based investors, and yet
15   Defendants disregarded Bitfinex’s stated terms of service to permit Galaxy Digital L.P. to access
16
     Bitfinex.
17
                57.     Similarly, the New York OAG obtained documents from Defendants indicating
18
19   that the “verification” of a trader on Bitfinex clearly notes that the trader resides in, and traded

20   from, the State of New York.44 Other documents obtained by the New York OAG reveal that
21   Defendants knew that hundreds of U.S.-based customers were trading and accessing Bitfinex
22
23
     41
24     “On-boarding” refers to the process of creating and verifying an account to execute transactions on a
     cryptocurrency exchange. See Virtual Markets Integrity Initiative, Office of the New York State Attorney General
25   (Sept. 18, 2018), https://virtualmarkets.ag.ny.gov.
     42
       Aff. of Brian M. Whitehurst at Ex. H, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
26   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 89.
     43
27        Id.
     44
       Aff. of Brian M. Whitehurst at Ex. I, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
28   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 90.


     CLASS ACTION COMPLAINT - 16
                         Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 19 of 97



     from the United States from November 7, 2017 through May 4, 2019.45
 1
 2               58.       In addition, the New York OAG noted that Bitfinex permitted “unverified” users

 3   (i.e., users for whom Bitfinex did not have personal identifying information to confirm the
 4   identify or location of the user) to access Bitfinex.46 Bitfinex users were not required to “submit
 5
     a range of personal identifying information” or “government-issued identification” in order to
 6
     trade.47 Rather, Bitfinex required “little more than an email address to begin trading virtual
 7
 8   currencies.”48          These “unverified” users were able to purchase, sell, and exchange

 9   cryptocurrencies on Bitfinex.49
10
                 59.       Collectively, these documents and e-mails show that Defendants’ restrictions for
11
     U.S.-based investors were spurious and were not enforced in any manner throughout the Class
12
     Period. Defendants lack of restrictions, and open ignorance of prior restrictions, meant that at all
13
14   times during the Class Period, U.S.-based investors had access to Bitfinex, including creating,
15   funding, trading, and withdrawing funds.
16
                 60.       Executives and senior management for Defendants DigFinex, Bitfinex, iFinex,
17
     and Tether regularly conducted corporate activities from within the United States. Documents
18
19   obtained by the New York OAG reveal that one of Defendant DigFinex’s largest shareholders,

20   Phil Potter, Chief Strategy Officer at Bitfinex, conducted corporative activities and resided in
21   New York.
22
                 61.       Phil Potter was a key executive conducting business on behalf of Defendants
23
     45
       Aff. of Brian M. Whitehurst at ¶¶ 13-14, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
24   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.
     46
25        Id. at ¶ 51.
     47
       Virtual Markets Integrity Initiative, Office of the New York State Attorney General (Sept. 18, 2018),
26   https://virtualmarkets.ag.ny.gov.
     48
27        Id.
     49
       Aff. of Brian M. Whitehurst at ¶ 51, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
28   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.


     CLASS ACTION COMPLAINT - 17
                    Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 20 of 97



     DigFinex, iFinex, and Tether. Giancarlo Devasini noted on January 24, 2018, that Phil Potter
 1
 2   “lives in New York” and that he would “be glad to help you [U.S.-based customer] with anything

 3   related to your trading activity.”50 Moreover, in an internet-based interview, Giancarlo Devasini
 4   acknowledged that “Phil . . . has a big contribution [] in the decision making.”51
 5
              62.      For example, in December 2017, Defendants DigFinex, iFinex Inc., and Tether
 6
     Holding Limited, at the initiation of Phil Potter, opened business bank accounts at New
 7
 8   York-based Metropolitan Commercial Bank and proceeded to transact in those accounts

 9   thereafter.52 The various letters from Metropolitan Commercial Bank demonstrate that Potter
10
     transacted substantial amounts of business activities on behalf of Defendants iFinex Inc. and
11
     Tether Holding Limited within the United States.
12
              63.      In February 2018, Potter opened business accounts for Defendants DigFinex,
13
14   iFinex Inc., and Tether Holding Limited with Signature Bank, a New York-based bank, and
15   proceeded to transact in those accounts until at least April 2018.53 These transactions and the
16
     creation of the accounts were executed at the direction of Phil Potter54 from the United States.
17
              64.      The documents obtained by the New York OAG evidence that Potter conducted
18
19   significant transactions on behalf of Defendants from within the United States. Defendants

20   DigFinex, iFinex Inc., and Tether Holding Limited, through Potter, made a multi-million-dollar
21   Series A investment in Noble Talents LLC, which was operated by Noble executives from New
22
     50
       Aff. of Brian M. Whitehurst at Ex. M, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
23   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 94.
     51
24     Bitfinex’ed, The Audio Recording Bitfinex Doesn’t Want You to Hear, Medium (Feb. 7, 2018),
     https://medium.com/@bitfinexed/the-audio-recordings-bitfinex-doesnt-want-you-to-hear-44d677cf1094.
25   52
       Aff. of Brian M. Whitehurst at Ex. M, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 94.
26   53
       Aff. of Brian M. Whitehurst at ¶¶ 25-26, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
27   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.
     54
       Aff. of Brian M. Whitehurst at Ex. N, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
28   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 95.


     CLASS ACTION COMPLAINT - 18
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 21 of 97



     York.55      Specifically, an e-mail from Phil Potter, dated December 4, 2017, to personnel
 1
 2   associated with Noble Bank indicate that Potter made strategic decisions stating, “[p]er my

 3   discussion with John today, we are back on for a $2 million investment in the Series A round.”56
 4              65.     In addition, documents obtained by the New York OAG reveal that in 2017
 5
     Defendant Bitfinex entered into a “sponsored pool agreement” with Noble Bank and a third-
 6
     party virtual currency trading firm containing a forum-selection clause selecting the United
 7
 8   States as the forum.57 Specifically, the forum-selection clause states: “[b]ut, for the convenience

 9   of the parties any and all disputes hereunder shall be resolved exclusively in state or federal
10
     courts within the State of New York in the Borough of Manhattan and the parties hereby accept
11
     the existence of personal jurisdiction over them in such jurisdiction and agree not to assert that
12
     any such court in the Borough of Manhattan is an inconvenient forum.”58 Defendant Bitfinex
13
14   executed the sponsored pool agreement consenting to jurisdiction in the United States,
15   specifically New York.59
16
                66.     Additional documentation obtained by the New York OAG demonstrates that
17
     Defendants iFinex Inc. and Tether Holding Limited contracted with several vendors, including a
18
19   New York-based public relations firm, and conducted meetings and operations from the United

20   States.60        On December 1, 2017, Defendant Bitfinex announced that it had retained
21
22   55
       Aff. of Brian M. Whitehurst at ¶¶ 27-29, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
23   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.
     56
       Aff. of Brian M. Whitehurst at Ex. O, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
24   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 96.
     57
25     Aff. of Brian M. Whitehurst at Ex. Q, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 98.
26   58
          Id.
     59
27        Id.
     60
       Aff. of Brian M. Whitehurst at ¶ 53, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
28   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 81.


     CLASS ACTION COMPLAINT - 19
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 22 of 97



     New York-based public relations firm 5W Public Relations regarding its operations.61 An e-mail
 1
 2   obtained by the New York OAG reveals that Bitfinex’s general counsel, Stuart Hoegner,

 3   requested to meet in person with employees from 5W Public Relations in New York in
 4   November 2017 to address skepticism expressed by market participants regarding Tether
 5
     Holding Limited’s cash reserves.62 Specifically, Stuart Hoegner wrote, “I have an early meeting
 6
     in D.C. on Monday. If you have some time, we can get together for as long as you want in New
 7
 8   York late on Monday afternoon. Looks like I can be in midtown by about a quarter to 4. Could

 9   we get together at 4pm for as long as you want?”63 Collectively, these documents demonstrate
10
     that Defendants targeted investors, conducted and directed corporate business, retained domestic
11
     vendors, and addressed concerns from market participants all from within the United States.
12
13              B.      History of USD₮ Issuances

14              67.     While the first USD₮ was issued on October 6, 2014,64 Tether Limited began
15   issuing USD₮ on a more regular basis in the middle of 2016. Figure 5 below illustrates
16
     Plaintiffs’ analysis of Tether Limited issuances of USD₮ as of May 2019.
17
18
19
20
21
22
23
24   61
       Aff. of Brian M. Whitehurst at Ex. V, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
25   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 103
     62
       Aff. of Brian M. Whitehurst at Ex. W, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
26   (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 104.
     63
27        Id.
     64
         John M. Griffin & Amin Shams, Is Bitcoin Really Un-Tethered?, SSRN, at 12 (October 28, 2019),
28   https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3195066.


     CLASS ACTION COMPLAINT - 20
                  Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 23 of 97



      Figure 5 – Tether Issuance Dates and Issuance Amounts October 2014 through May 2019
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
            68.     As illustrated by Figure 5 above, the vast majority of Tether Defendants’ USD₮
13
     issuances occurred in 2017, when Bitcoin experienced a prolonged price bubble.
14
15                   Figure 6 – Tether Issuances and Amounts by Month Between
                                   October 2014 through May 2019
16
17
18
19
20
21
22
23
24
25
            69.     Moreover, as demonstrated in Figure 6 above, the largest issuances of USD₮
26
     occurred between November 2017 and January 2018, during which time the price of Bitcoin
27
28   increased nearly dramatically. See Figure 7 below.


     CLASS ACTION COMPLAINT - 21
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 24 of 97



                70.       Specifically, between January 2016 and December 2017, the price of Bitcoin
 1
 2   jumped from $400 to a peak of $19,497 per Bitcoin on December 16, 2017. Figure 7 below

 3   demonstrates the dramatic increase in Bitcoin prices in 2017, and the subsequent collapse in
 4   prices in 2018.
 5
                           Figure 7 – BTC/USD Exchange Rate between 2013 and 2019
 6
 7
 8
 9
10
11
12
13
14
15
16
17
                71.       Whereas Tether Defendants’ USD₮ issuances prior to November 2017 averaged
18
     less than 50,000,000 USD₮ per issuance, starting in November 2017, near the height of the
19
20   Bitcoin price bubble, Tether Defendants’ USD₮ issuances began to significantly increase,

21   averaging no less than 100,000,000 USD₮ per issuance.
22
                72.       Bitcoin prices peaked on December 16, 2017, at $19,497 per Bitcoin.65
23
                73.       Plaintiffs’ economic analyses and research demonstrates that Tether Defendants’
24
     USD₮ issuances were used to purchase Bitcoin in large quantities following negative pricing
25
26   returns, thereby reversing declining prices and stabilizing Bitcoin.

27
28   65
          See Figure 7.


     CLASS ACTION COMPLAINT - 22
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 25 of 97



             74.      As of June 2019, Tether Limited has issued approximately $3.0 billion in USD₮
 1
 2   coins to date.      Tether’s increase in USD₮ issuances is commensurate with the significant

 3   increase in daily Bitcoin and tether trading volumes. See Figure 8 below.
 4                 Figure 8 – Bitcoin & Tether Trading Volume, 2015 through May 2019
 5
 6
 7
 8
 9
10
11
12
13
14
15
16           75.      During the Class Period, USD₮ became a major source of liquidity for Bitcoin
17
     transactions, accounting for upwards of 98.7% of the total Bitcoin trading in stablecoins.
18
     According to CryptoCompare,66 for example, as of March 2019, “USD₮ represents 98.7% of the
19
     total Bitcoin trading” compared with the next four largest stablecoins.67 See Figure 9.
20
21
22
23
24
25   66
       Founded in 2014, “CryptoCompare is a central authority for clear and concise information, offering unrivalled
26   breadth, scope and depth of data, bridging the gap between the crypto asset and traditional financial markets.”
     About Us, CryptoCompare, https://www.cryptocompare.com/about-us/ (last visited Oct. 8, 2019).
27   67
        Exchange Review March 2019, CryptoCompare, 13,
     https://www.cryptocompare.com/media/35650390/cryptocompare_exchange_review_2019_03.pdf (last visited Oct.
28   8, 2019).


     CLASS ACTION COMPLAINT - 23
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 26 of 97



     Figure 9 – Proportion of BTC Trading into Top Stablecoins for January - March 201968
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
                76.      Between May and July 2019, USD₮ proportion of Bitcoin trading into stablecoins
13
14   was approximately 97%.69 Moreover, in a Bloomberg article, dated June 6, 2019, Bitfinex

15   acknowledged USD₮’s dominance saying that tether accounts for 98.7% of trading volume.70
16
     Figure 10 below further demonstrates the monopoly that Tether Defendants hold over Bitcoin
17
     trading into stablecoins.
18
19
20
21
22
23
24
25   68
       Id. The remaining stablecoins in Figure 9 are Maker Dai (“DAI”), Circle USDC (“USDC”), Paxos Standard
     (“PAX”), TrustToken TrueUSD (“TUSD”), and Gemini Dollar (“GUSD”).
26   69
        Exchange Review July 2019, CryptoCompare, 21,
27   https://www.cryptocompare.com/media/35651284/cryptocompare_exchange_review_2019_07.pdf (last visited Oct.
     8, 2019).
28   70
          Kharif, supra note 13.


     CLASS ACTION COMPLAINT - 24
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 27 of 97



                Figure 10 – Proportion of BTC Trading into Top Stablecoins for May - July 201971
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
                  77.     Furthermore, the number of “active accounts” (i.e., non-zero balance accounts)
13
14   further illustrates the pivotal role that tether played in Bitcoin trading. In October 2018, for

15   example, tether maintained nearly 45 times the number of active accounts than rival stablecoins
16
     DAI, TUSD, PAX, GUSD, and USDC.72 Figure 11 below illustrates tether active accounts
17
     compared with other stablecoins.73
18
19
20
21
22
23
24
25
26
     71
          Id.
27
     72
          Vikati, supra note 22.
28   73
          Vikati, supra note 22.


     CLASS ACTION COMPLAINT - 25
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 28 of 97



                       Figure 11 – Number of Holders by Stablecoin as of October 201974
 1
 2
 3
 4
 5
 6
 7
 8
                78.      Additionally, as of April 2019, Bitcoin trading into USD₮ represented
 9
     approximately 80% of total volume traded into fiat or stablecoin, as detailed below in Figure
10
11   12.75 Throughout the Class Period, USD₮ dominated Bitcoin trading into fiat or stablecoin.76

12
13
14
15
16
17
18
19
20
21
22
23
24
     74
          Vikati, supra note 22.
25   75
        Steven Ehrlich, After an $850 Million Controversy, What Everyone Should Know about Fitfinex, Tether and
26   Stablecoins, Forbes (May 2, 2019, 9:09 a.m), https://www.forbes.com/sites/stevenehrlich/2019/05/02/after-an-850-
     million-controversy-what-everyone-should-know-about-bitfinex-tether-and-stablecoins/#4101ae81492f.
27   76
       Exchange Review April 2019, CryptoCompare, 10,
     https://www.cryptocompare.com/media/35650606/cryptocompare_exchange_review_2019_04.pdf (last visited
28   Oct 8, 2019).


     CLASS ACTION COMPLAINT - 26
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 29 of 97



            Figure 12 – Proportion of Total Monthly Bitcoin Trading into Fiat or Stablecoins for
 1                                        February – April 201977
 2
 3
 4
 5
 6
 7
 8
 9
10
                Figure 13 – February through April 2019 Bitcoin Trading into Fiat or Stablecoins78
11
12
13
14
15
16
17
18
19
20
21
      II.               DEFENDANTS MANIPULATED BITCOIN TO INCREASE TRADING
22                      PROFITS
23                A.      Defendants Issued USD₮s to Inflate Bitcoin Prices
24
                  79.     Throughout the Class Period, Defendants had multiple motives to cause artificial
25
     increases and decreases in Bitcoin prices. Defendants’ control of Bitfinex and exclusive ability
26
     77
27     Id. Fiat currencies include U.S. Dollar (“USD”), Euro (“EUR”), Japanese Yen (“JPY”), South Korean Won
     (“KRW”), Great British Pound (“GBP”), and Russian Ruble (“RUB”).
28   78
          Id.


     CLASS ACTION COMPLAINT - 27
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 30 of 97



     to print USD₮s through the USD₮ issuances gave Defendants the ability to manipulate Bitcoin
 1
 2   prices and extract supra-competitive profits from Bitcoin traders.

 3              80.      Upon information and belief, Defendants – along with most issuers of early
 4   cryptocurrencies – are “long” Bitcoin, meaning their positions will increase in value if the price
 5
     of Bitcoin increases.79
 6
                81.      Philip G. Potter, Chief Strategy Officer at Bitfinex from February 2014 through
 7
 8   June 2018,80 for example, admitted on a live talk internet show on January 20, 2015 that he is “a

 9   long-term holder” of Bitcoin and that he has “a great deal of interest in Bitcoin.” 81 Potter
10
     elaborated that he has been “a trader all [his] life” and that he is “an investor in Bitcoin that will
11
     add to his position a little bit on the way down and sell a little bit on the way up.”82 In addition
12
     to his personal trading, Philip Potter managed a Bitcoin arbitrage and New York-based hedge
13
14   fund, Potter Ventures, LLC, while simultaneously working for Bitfinex.83
15              82.      Furthermore, Bitfinex Chief Financial Officer Giancarlo Devasini admitted that
16
     he has “over 1.2 million tokens” and that he kept “the vast majority of them on Bitfinex.”84
17
                83.      Similarly, Josh Rossi, then VP of Business Development at Bitfinex, admitted that
18
19   other Bitfinex employees on the “management team” “definitely do hold and are bullish on

20
21
     79
22        Griffin & Shams, supra note 64, at 16.
     80
       Matthew Leising, Chief Strategy Officer of Bitfinex and Tether is Departing, Bloomberg (June 22, 2018),
23   https://www.bloomberg.com/news/articles/2018-06-22/chief-strategy-officer-of-bitfinex-and-tether-is-departing.
     81
24     Coinspeaker Staff, Audio File & Written Transcript of Bitfinex’s Philip Potter Trading Confession, Coinspeaker
     (Jan. 25, 2015), https://www.coinspeaker.com/audio-file-written-transcript-of-phillip-potter-bitfinex-trading-
25   confession/.
     82
          Id.
26   83
       Bitfinex’ed, Wash Trading Bitcoin Part II: Who and why is someone wash trading on Bitfinex?, Medium (Oct. 22,
27   2017), https://medium.com/@bitfinexed/wash-trading-bitcoin-part-ii-who-and-why-is-someone-wash-trading-on-
     bitfinex-e1c7b5e0b3bb.
28   84
          Id.


     CLASS ACTION COMPLAINT - 28
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 31 of 97



     bitcoin.”85
 1
 2              84.       Despite Bitfinex employees having access to issuances, customer orders, flows,

 3   and other backend information on the exchange, Bitfinex does “not provide any restrictions on
 4   employee trading.”86 Moreover, both the New York OAG and Bitfinex’s own executive, Phil
 5
     Potter, acknowledged that trading presents a “conflict of interest.”87
 6
                85.       In a live internet interview, dated January 20, 2015, when asked whether Phil
 7
 8   Potter thought there is a conflict of interest given that he had access to Bitfinex customer

 9   accounts, Phil Potter replied, “[t]here is of course a conflict of interest if I traded actively and I
10
     don’t.”88 Phil Potter would clarify that he is “an investor in Bitcoin that will add to his position a
11
     little bit on the way down and sell a little bit on the way up.”89
12
                86.       Similarly, the New York OAG noted that “[t]rading by platform employees poses a
13
14   conflict of interest.”90 The New York OAG wrote that this conflict of interest could be managed if

15   platforms, including Bitfinex, “adopt[], and its employees adhere to, policies and procedures
16   prohibiting employees from trading on the basis of information that gives them an advantage over
17
     customers – for instance, access to non-public news (like the impending listing of a new virtual
18
     currency on the platform), information about the status of the platform order book, or information
19
     about its customers’ identities.”91
20
21              87.       Defendants’ holdings of Bitcoin create a conflict of interest and strong incentive

22
     85
      Daniel Mark Harrison, Bitfinex Scandal Erupts as Director Admits Trading While Maybe Seeing Customer Order,
23   Coinspeaker (Jan. 25, 2015), https://www.coinspeaker.com/bitfinex-scandal-erupts-as-director-admits-trading-
     while-seeing-customer-orders/.
24   86
          Virtual Markets Integrity Initiative, supra note 47.
25   87
          Coinspeaker Staff, supra note 81.
     88
26        Id.
     89
          Id.
27
     90
          Virtual Markets Integrity Initiative, supra note 47.
28   91
          Id.


     CLASS ACTION COMPLAINT - 29
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 32 of 97



     to generate artificial demand to increase the price of Bitcoin and, in turn, the value of
 1
 2   Defendants’ holdings and those of the personal accounts of their employees. Moreover, the lack

 3   of any Bitfinex policies and procedures prohibiting employees from trading Bitcoin provides
 4   Defendants both non-public information and the means to manipulate Bitcoin prices.
 5
                88.      According to the Affirmation of Brian M. Whitehurst, Assistant Attorney General
 6
     at the New York OAG, filed in the New York Supreme Court Action, Index No. 450545/2019,
 7
 8   (NYSCEF No. 1), Tether’s issuances of USD₮ were not in standard amounts or in consistently

 9   timed intervals. Rather, Tether’s counsel represented that “issuances of new tether occur when
10
     an investor has requested to purchase tethers by depositing U.S. dollars with Tether the
11
     company, or by depositing U.S. dollars with a trading platform that is authorized to accept dollar
12
     deposits in exchange for tethers.”92
13
14              89.      Plaintiffs’ analysis of Tether Limited’s USD₮ issuances and the subsequent large
15   USD₮ flow from Bitfinex to U.S. exchanges demonstrates a repeated “U-shaped” pattern in
16
     Bitcoin prices, evidencing manipulation of Bitcoin prices.93                    Plaintiffs’ analysis found that
17
     Bitcoin returns generally declined just before the USD₮ issuance dates and improved afterwards.
18
19   This suggests that Defendants printed USD₮s to manipulate and support the price of Bitcoin

20   upwards. The issuances reversed negative Bitcoin returns, enabling Defendants to enjoy supra-
21   competitive profits at the expense of Plaintiffs and other purchasers of Bitcoin and Bitcoin
22
     futures. See Figure 14 below.
23
24
25
26
     92
27     Aff. of Brian M. Whitehurst at ¶ 34, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (Apr. 25, 2019), NYSCEF No. 1.
28   93
          See infra 55; Figures 19-22.


     CLASS ACTION COMPLAINT - 30
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 33 of 97



                      Figure 15 – Defendants’ Manipulation of Bitcoin and Bitcoin Futures
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11              90.     During this time, Tether began employing a fractional reserve system wherein
12
     Tether held only a fraction of the U.S. dollar deposits backing USD₮ printing. To artificially
13
     inflate Bitcoin prices, Tether routinely printed more USD₮s than required based on organic fiat
14
15   currency deposits. This USD₮ was then transferred to the Bitfinex exchange and then to U.S.-

16   based exchanges Bittrex and Poloniex to purchase Bitcoin.
17              91.     An anonymous statistical analysis, titled “Quantifying the Effect of Tether,”
18
     analyzed the relationship between Bitcoin’s prices and USD₮ and found that Tether was
19
     responsible for approximately 48.8% of Bitcoin’s price increases in 2017 during the Bitcoin
20
21   bubble.94 The report noted, “Tether printing moves the market appreciably; 48.8% of BTC’s

22   price rise in the period studied [December 25, 2016 through January 11, 2018] occurred in the
23
     two-hour periods following the arrival of 91 different Tether grants to the Bitfinex wallet.”95
24
25
26
     94
27     Quantifying the Effect of Tether, Tether Report, at 6, http://www.tetherreport.com/slides.html (last visited Nov.
     21, 2019).
28   95
          Id.


     CLASS ACTION COMPLAINT - 31
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 34 of 97



     According to the report, “it is highly unlikely that Tether is growing through any organic
 1
 2   business process, rather that they are printing in response to market conditions.”96

 3               92.     The suspect timing of Tether Limited’s USD₮ issuances as it coincides with
 4   Bitcoin price increases is further supported by Tether’s under-capitalization and admitted lack of
 5
     a one-to-one reserve of U.S. dollars to USD₮s.
 6
                 93.     Furthermore, finance professors John M. Griffin and Amin Shams at the
 7
 8   University of Texas found that “purchases with Tether [USD₮] are timed following market

 9   downturns and result in sizable increases in Bitcoin prices. The flow is attributable to one entity
10
     . . . suggests insufficient Tether reserves before month-ends.”97 They found that “[t]he patterns
11
     observed above are consistent either with one large player purchasing Tether with cash at
12
     Bitfinex and then exchanging it for Bitcoin, or Tether being printed without cash backup and
13
14   pushed out through Bitfinex in exchange for Bitcoin.”98
15               94.     The effect of Tether printing USD₮ regardless of the underlying demand for
16
     USD₮ is at least three-fold. First, Professors Griffin and Shams explained that USD₮ “increases
17
     the money supply in the crypto space” akin to “printing money,” which “can significantly push
18
19   cryptocurrency prices up by generating an artificial demand.”99 Early cryptocurrency adopters

20   who are long Bitcoin, such as Defendants, necessarily profit from inflating Bitcoin prices.
21               95.     Second, Professors Griffin and Shams noted that “the coordinated supply of
22
     Tether [USD₮] creates an opportunity to manipulate cryptocurrencies.”100 Defendants and their
23
     co-conspirators could create USD₮s when Bitcoin prices are falling and in turn use the newly
24
25   96
          Id.
     97
26        Griffin & Shams, supra note 64, at 1.
     98
          Id. at 7.
27
     99
          Id. at 3.
28   100
           Id.


     CLASS ACTION COMPLAINT - 32
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 35 of 97



     created USD₮ supply to artificially inflate Bitcoin prices.101 Once Bitcoin prices are artificially
 1
 2   inflated, Defendants and their co-conspirators then sell Bitcoin back into USD₮ to replenish

 3   Tether Defendants’ reserves.102 Professors Griffin and Shams explained that “[t]he issuers can
 4   stabilize and/or set regionalized price floors and push the price of Bitcoin and other
 5
     cryptocurrencies upward.”103
 6
                 96.       Third, Professors Griffin and Shams noted that printing USD₮ without the
 7
 8   underlying demand provides “the Tether issuers [] a valuable put option in the case of a future

 9   crypto market downturn or other losses.”104 If, for example, Bitcoin prices decline significantly,
10
     Tether Defendants can default on redeeming USD₮ for dollars.105
11
                 97.       Professors Griffin and Shams concluded that “[p]rices in this [Bitcoin] market
12
     reflect much more than standard supply/demand and fundamental news. These distortive effects,
13
14   when unwound, could have a considerable negative impact on cryptocurrency prices.”106
15               98.       Similarly, researchers from TokenAnalyst found that on days when Tether
16
     Defendants issued USD₮, Bitcoin prices increased nearly 70% of the time.107
17
                 99.       During the Class Period, Defendants continued pumping up the price of Bitcoin at
18
19   a rate exceeding any legitimate flow of customer funds, thus resulting in a rapid draining of

20   Defendants’ reserves and decreasing the ratio of USD₮ to fiat currencies. Defendants’ printing
21
22
     101
           Id. at 3.
23   102
           Id. at 3.
24   103
           Id. at 17.
     104
25         Id.
     105
           Id.
26   106
           Id. at 46-47.
27   107
        Matt Robinson & Matthew Leising, Tether Used to Manipulate Price of Bitcoin During 2017 Peak: New Study,
     Bloomberg (June 13, 2018), https://www.bloomberg.com/news/articles/2018-06-13/professor-who-rang-vix-alarm-
28   says-tether-used-to-boost-bitcoin.


     CLASS ACTION COMPLAINT - 33
                         Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 36 of 97



     of additional USD₮ during the Class Period had an inflationary effect on the price of Bitcoin,
 1
 2   akin to a government printing additional money.108

 3               100.      Unlike other stablecoins, Tether maintains opaque banking and auditing
 4   relationships and does not disclose its banking relationships or submit its reserves to quarterly
 5
     audits.109 In response to assertions that Tether Limited failed to maintain fiat currency reserves
 6
     supporting a 1:1 valuation, Tether Limited published a memorandum from the accounting and
 7
 8   advisory firm Friedman LLP (headquartered in New York) evidencing Tether Limited’s

 9   sufficient reserve bank accounts as of September 15, 2017.110 While not an official audit, the
10
     report found that Tether Limited had issued 442,481,760 USD₮ and maintained USD reserves of
11
     $442,984,592.111 The results of Friedman LLP’s report were published on September 28, 2017,
12
     and made available to all Bitfinex users, including those in the United States.
13
14               101.      On January 27, 2018, amid rising skepticism about Defendants’ purported U.S.
15   dollar reserves, Tether terminated its auditing relationship with Friedman LLP.112 On April 30,
16
     2019, Tether disclosed through its counsel that Tether had backed only 74% of its then-
17
     outstanding $2.8 billion USD₮ market cap.113 Specifically, Tether stated that “cash and cash
18
19   equivalents (short term securities) on hand totaling approximately $2.1 billion, representing

20   approximately 74 percent of the current outstanding tethers.”114 Tether further analogized its
21   operations to a commercial bank’s “fractional reserve” system, whereby the commercial bank
22
     108
           Tether: Fiat Currencies on the Bitcoin Blockchain, supra note 10.
23   109
           Ehrlich, supra note 75.
24   110
        Friedman LLP, Memorandum Regarding Consulting Services Performed, Tether (Sept. 28, 2017),
     https://tether.to/wp-content/uploads/2017/09/Final-Tether-Consulting-Report-9-15-17_Redacted.pdf.
25   111
           Id. at 4-5.
26   112
           Wise, supra note 15.
     113
27      Aff. of Stuart Hoegner at ¶ 33, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019 (Apr.
     30, 2019), NYSCEF No. 24.
28   114
           Id.


     CLASS ACTION COMPLAINT - 34
                          Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 37 of 97



     maintains “a small fraction of customer deposits, deploying the rest via investments.”115
 1
 2               102.       In effect, Tether maintained a license to print USD₮, which it routinely used to

 3   artificially inflate and manipulate the price of Bitcoin. Reporting on Tether, Medium wrote:
 4               “If Tether was in fact able to issue tokens not backed by fiat reserves, then
 5               effectively they would be printing U.S. dollars in the cryptocurrency ecosystem,”
                 Wang Chu Wei, a researcher at the University of Queensland who has also
 6               studied Tether’s impact on the cryptocurrency market, wrote in an email. “If that
                 was the case, Tether Limited’s role/power would be not dissimilar to that of a
 7
                 central bank; i.e., the ability to increase money supply and boost asset prices.”116
 8               103.       Defendants’ monopolization of USD₮ printing, and USD₮’s dominance in
 9
     Bitcoin to stablecoin trading, enabled Defendants to manipulate Bitcoin prices and extract supra-
10
     competitive profits from Bitcoin traders. Since Defendants were long Bitcoin, Defendants had a
11
12   motive to artificially increase the price of Bitcoin in order to increase their profits.

13               104.       Moreover, Defendants were concurrently trading.      As Phil Potter explained,
14   “add[ing] to [their] position a little bit on the way down and sell[ing] a little bit on the way up,”
15
     prior to USD₮ issuances, Defendants were engaging in manipulative trading activities that
16
     harmed market participants.
17
18               105.       Bitcoin returns generally declined just before the USD₮ issuance dates and

19   improved afterwards, forming a “U-shaped” pattern. Defendants’ purchases “on the way down,”
20
     just prior to USD₮ issuances, would have resulted in supra-competitive gains.                 Similarly,
21
     Defendants sales “on the way up,” just after USD₮ issuances, would have resulted in supra-
22
     competitive gains. See, infra Section V.A.
23
24
25
26
27
     115
           Id. at ¶ 34.
28   116
           Wise, supra note 15.


     CLASS ACTION COMPLAINT - 35
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 38 of 97



                B.       Defendants Engaged in Wash Trades Through Intermediaries
 1
 2              106.     During the Class Period, Defendants collectively engaged in wash trading to give

 3   the appearance of liquidity and to solidify Bitfinex as the largest cryptocurrency exchange.
 4   Wash trading involves “entering into, or purporting to enter into, transactions to give the
 5
     appearance that purchases and sales have been made, without incurring market risk or changing
 6
     the trader’s market position.”117 Wash trading is a manipulative trading process that transmits
 7
 8   artificial and misleading information to the market and gives the appearance of increased

 9   liquidity and trading volume.118
10
                107.     In a live internet interview dated October 1, 2016, Chief Financial Officer
11
     Giancarlo Devasini admitted that in the weeks prior to October 2016, Bitfinex “was thinking
12
     about . . . pushing some wash sales in the system . . .[to] try to be number one again.” 119
13
14   Giancarlo Devasini then stated that they decided “against allowing this [wash trading]”
15   analogizing wash trading with “taking dope [drugs],” which Giancarlo Devasini acknowledged
16
     “was not a good thing to do.”120 Despite Bitfinex’s CEO’s acknowledgment that wash trading
17
     was like “taking dope,” Bitfinex had no mechanisms in place to prohibit wash trading.121
18
19   Defendants and their co-conspirators collectively engaged in wash trading by directed purchases

20   and sales through Bittrex and Poloniex, which in turn were cycled back to Bitfinex.
21              108.     Once Tether print USD₮s, they are transferred to Bitfinex, which then sends the
22
     USD₮ to U.S.-based cryptocurrency exchanges via known intermediary wallets for potential
23
24   117
        CFTC Glossary, CFTC https://www.cftc.gov/ConsumerProtection/EducationCenter/CFTCGlossary/
     glossary_wxyz.html.
25   118
       James Chen, Wash Trading, Investopedia (Apr. 23, 2019), https://www.investopedia.com/terms/
26   w/washtrading.asp.
     119
           Bitfinex’ed, supra note 83.
27
     120
           Bitfinex’ed, supra note 83.
28   121
           Bitfinex’ed, supra note 83.


     CLASS ACTION COMPLAINT - 36
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 39 of 97



     exchange for Bitcoin and other virtual currencies. To trace the flow of newly printed USD₮s,
 1
 2   Plaintiffs constructed a mapping algorithm capable of identifying the “intermediary wallets” of

 3   those traders that sent USD₮s to U.S.-based cryptocurrency exchanges.
 4              109.     A review of Tether’s issuances demonstrates that most of the newly printed
 5
     USD₮s between 2014 and 2018 were sent directly to Bitfinex via an intermediary wallet known
 6
     as the “Tether Treasury.” Specifically, Plaintiffs’ analysis identified that roughly $19 billion of
 7
 8   USD₮ transactions, or approximately one-third (1/3) of all USD₮ transactions between October

 9   2014, the date of Tether’s first issuance, and May 2018 were sent to Bitfinex and then to U.S.-
10
     based exchanges such as Bittrex and Poloniex.
11
                110.     Figure 16 below illustrates the flow of newly issued USD₮s to U.S. exchanges:
12
13           Figure 16 – Flow of USD₮ from Tether to U.S.-based cryptocurrency exchanges122

14
15
16
17
18
19
20
21
22
23
                111.     The transaction data reveal that these wallets served only as intermediaries. For
24
     example, the transaction data demonstrates that the Poloniex intermediary wallet sent USD₮s to
25
26   only one wallet – the Poloniex exchange wallet. Similarly, the Bittrex intermediary wallet sent

27   USD₮s to only the Bittrex exchange.
28   122
           Huobi is a Singapore-based cryptocurrency exchange.


     CLASS ACTION COMPLAINT - 37
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 40 of 97



            112.     In addition, Plaintiffs’ analysis of the USD₮ transaction data uncovered an
 1
 2   additional intermediary wallet that circulated USD₮s back from the U.S.-based cryptocurrency

 3   exchanges to Bitfinex, labeled “Recycling Wallet” in the above Figure 16. The flows from the
 4   Recycling Wallet back to Bitfinex suggest that Bitfinex might have struggled to locate a
 5
     purchaser for all USD₮s that Bitfinex sent to various U.S.-based exchanges, and/or that Tether
 6
     and its affiliates cashed out of existing Bitcoin positions using USD₮ as the fiat currency. This
 7
 8   suggests that Bitfinex used Poloniex, Bittrex, and Recycling Wallets to engage in wash trading to

 9   create artificial volume and maintain Bitfinex’s position as the “number one” cryptocurrency
10
     exchange.
11
     Figure 17 – USD₮ Sent to U.S. exchanges by Intermediary Wallets Between October 2014
12                                     through May 2018
13
14
15
16
17
18
19
20
21
22
23          113.     Between 2014 and 2018, Tether Limited issued approximately $3 billion in

24   USD₮. Of that, Poloniex and Bittrex received approximately $2 billion (approximately 66% of
25
     all USD₮ issuances) from Bitfinex’s known intermediary wallets.
26
            114.     As demonstrated in Figures 16 and 17, Defendants affirmatively directed, through
27
28   Bitfinex, approximately 66% of all USD₮ issuances between 2014 and 2018 through U.S.-based


     CLASS ACTION COMPLAINT - 38
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 41 of 97



     exchanges Poloniex and Bittrex in furtherance of Defendants’ and their co-conspirators’
 1
 2   conspiracy to manipulate and artificially fix, suppress, or stabilize the price of Bitcoin on U.S.-

 3   based exchanges.
 4              115.     Defendants’ control of USD₮ issuances and Bitfinex permitted Defendants and
 5
     their co-conspirators to coordinate purchases and sales with rising and falling Bitcoin prices.
 6
     When Bitcoin prices were falling, Defendants and their co-conspirators printed USD₮s and
 7
 8   artificially increased the price of Bitcoin. Once Defendants and their co-conspirators artificially

 9   inflated the price of Bitcoin, Defendants and their co-conspirators then converted the Bitcoin
10
     back into USD₮s to replenish Tether’s reserves. In effect, the “Tether creators essentially have a
11
     put option to default on redeeming Tether, or to potentially experience a ‘hack’ where Tether or
12
     related dollars disappear.”123
13
14              116.     While Bitfinex and Tether purported to maintain a one-to-one reserve of U.S.
15   dollars to USD₮s, documents disclosed from the OAG reveal that Tether and Bitfinex failed to
16
     maintain a one-to-one reserve and faced extreme difficulty meeting client withdrawals. 124
17
                117.     Tether’s inability to meet client withdrawals, coupled with Plaintiffs’ statistical
18
19   evidence of the U-Shape of Bitcoin prices, strongly suggest that Defendants and their co-

20   conspirators were not printing USD₮s based on client inflows of U.S. dollars, but rather that
21   Defendants and their co-conspirators were artificially printing USD₮s to manipulate and
22
     artificially fix, suppress, or stabilize the price of Bitcoin.
23
24
25
26
     123
27         Tether: Fiat Currencies on the Bitcoin Blockchain, supra note 10.
     124
           See Aff. of Brian M. Whitehurst at ¶¶ 62-71, iFinex Inc., Index No. 450545/2019 (Apr. 25, 2019), NYSCEF No.
28   1.


     CLASS ACTION COMPLAINT - 39
                          Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 42 of 97



                 C.         Bitfinex and Tether Failed to Maintain Sufficient U.S. Reserves
 1
 2               118.       In 2018, the New York OAG commenced an investigation of Bitfinex and Tether.

 3   On November 27, 2018, the New York OAG served investigative subpoenas on Bitfinex and
 4   Tether alleging that Bitfinex and Tether lost approximately $851 million to a Panamanian entity
 5
     called Crypto Capital Corp. (“Crypto Capital”).
 6
                 119.       On April 25, 2019, the New York OAG revealed that Tether comingled client and
 7
 8   corporate funds and that approximately $851 million was unavailable.125 The Affirmation of

 9   Brian M. Whitehurst alleges that in 2014, Bitfinex began utilizing Crypto Capital as one of their
10
     “payment processors.”126           According to the Whitehurst Affirmation, by 2018, Bitfinex had
11
     placed over $1 billion of comingled customer and corporate funds with Crypto Capital. By the
12
     middle of 2018, Crypto Capital, which held all or nearly all of Bitfinex’s funds, disallowed
13
14   Bitfinex’s clients’ requests to withdrawal funds.127 By the middle of 2018, Bitfinex faced
15   extreme difficulty meeting even small client withdrawals128 because $851 million of funds held
16
     at Crypto Capital were seized by governmental authorities in Portugal, Poland, and the United
17
     States.129
18
19               120.       According to the Whitehurst Affirmation, for example, in August 2018, a senior

20   executive at Bitfinex using the username Merlin (“Merlin”), believed to be Giancarlo
21   Devasini,130 wrote to their contact at Crypto Capital (“Oz”) acknowledging that Tether lacked
22
23   125
           Id. at ¶ 68.
24   126
           Id.
     127
25         Id. at ¶ 62.
     128
           Id.
26   129
           Id. at ¶ 68.
27   130
        Aff. of Brian M. Whitehurst at Ex. E, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (N.Y. Sup. Ct., N.Y. County July 8, 2019), NYSCEF No. 86 (e-mail from Giancarlo Devasini noting that his “skype
28   handle is Merlinmagoo” and that his “telegram is @Merlinthewizard.”).


     CLASS ACTION COMPLAINT - 40
                          Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 43 of 97



     access to sufficient money to honor client withdrawals. Consequently, Bitfinex faced extreme
 1
 2   difficulty honoring Bitfinex’s clients’ requests to liquidate USD₮ to U.S. dollars.

 3               Merlin. [15.08.18 11:46]
                 Hey Oz, sorry to bother you every day, is there any way to move at least 100M to either
 4               [REDACTED]? We are seeing massive withdrawals and we are not able to face them
 5               anymore unless we can transfer some money out of Cryptocapital
                 Merlin. [15.08.18 11:47]
 6               I understand some of the funds are being held by [REDACTED], but what about the rest?
                 Merlin. [15.08.18 11:18]
 7
                 under normal circumstances I wouldn’t bother you (I never did so far) but this is a quite
 8               special situation and I need your help. thanks131

 9               121.       Similarly, in October 2018, Merlin again wrote to their contact at Crypto Capital
10
     urging that Crypto Capital process withdrawals from Tether’s cash reserves and warning that the
11
     situation “could be extremely dangerous for everybody” and that “BTC [Bitcoin] could tank
12
     below 1k” if Crypto Capital and Bitfinex did not act quickly.132
13
14               Merlin. [15.10.18 09:53]
                 I have been telling you since a while
15               Merlin. [15.10.18 09:53]
16               too many withdrawals waiting for a long time
                 Merlin [15.10.18 09:54]
17               is there any way we can get money from you? Tether or any other form? Apart with
                 cryptocapital we are running low in cash reserves
18               Merlin [15.10.18 09:54]
19               please help
                 CCC [15.10.18 09:54]
20               I know. We are following the banks we post as many as we can and let them process as
                 much as possible according to them. Everytime [sic] we push them they push back with
21               account closure without reason
22               Merlin [15.10.18 09:55]
                 dozens of people are now waiting for a withdrawal out of cryptocapital
23               Merlin [15.10.18 10:01]
                 I need to provide customers with precise answer at this point, can’t just kick the can a
24               little more
25               Merlin [15.10.18 10:02]
                 the international I mean
26               CCC [15.10.18 10:02]
27
     131
           Id. at ¶ 63.
28   132
           Id.at ¶ 66.


     CLASS ACTION COMPLAINT - 41
                          Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 44 of 97



                 I will keep you posted here
 1               CCC [15.10.18 10:02]
 2               On the process of all international payments.
                 Merlin [15.10.18 10:02]
 3               please understand all this could be extremely dangerous for everybody, the entire crypto
                 community
 4               Merlin [15.10.18 10:03]
 5               BTC could tank to below 1k if we don’t act quickly133

 6               122.       The above correspondence strongly evidences that Defendants knew that USD₮
 7
     printing and withdrawals moved in lockstep with the price of Bitcoin such that an increase in
 8
     USD₮ withdrawals would significantly reduce the price of Bitcoin. Merlin implored Crypto
 9
     Capital to process withdrawals, and noted that the situation “could be extremely dangerous for
10
11   everybody,” on October 15, 2018, when the price of Bitcoin was $6,721.59 per Bitcoin. Despite

12   this high price, a Bitfinex employee was concerned that if withdrawals of USD₮ were not timely
13
     processed it could cause fear among market participants, potentially create a run on USD₮
14
     withdrawal requests, and as a result, Bitcoin prices “could tank” approximately $5,721.59, or
15
16   85.1%, to under $1,000 per Bitcoin.134 Defendants’ monopolization of USD₮ printing and

17   USD₮’s dominance in Bitcoin ensured that Defendants controlled the price of Bitcoin through
18   USD₮ printing and withdrawals.
19
                 123.       By early October 2018, numerous clients had reported the inability to withdraw
20
     funds from Bitfinex, which raised concerns online that Bitfinex was close to insolvency. 135 In
21
22   response, on October 7, 2018, Bitfinex released a notice to investors assuring them that Bitfinex

23   was not insolvent and that the rumors were “a targeted campaign based on nothing but
24   fiction.”136 Bitfinex’s notice further stated, “[b]oth fiat and cryptocurrency withdrawals are
25
     133
26         Id.
     134
           Id.
27
     135
           Id. at ¶ 64.
28   136
           Id. at ¶ 64.


     CLASS ACTION COMPLAINT - 42
                          Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 45 of 97



     functioning as normal. Verified Bitfinex users can freely withdraw Euros, Japanese Yen, Pounds
 1
 2   Sterling and U.S. Dollars.             Complications continue to exist for us in the domain of fiat

 3   transactions, as they do for most cryptocurrency-related organisations.”137
 4               124.       The following week Bitfinex released another notice to investors clarifying that,
 5
     “[a]ll cryptocurrency and fiat withdrawals are, and have been, processing as usual without the
 6
     slightest interference; [a]ll fiat (USD, GBP, JPY, EUR) withdrawals are processing, and have
 7
 8   been, as usual; [f]iat deposits have been temporarily paused for certain user groups.”138

 9               125.       The New York OAG asserts that these statements from Bitfinex were untrue
10
     because documentation provided to the New York OAG demonstrates that during this time,
11
     Bitfinex faced extreme delay and difficulty processing client withdrawals.139
12
                 126.       Bitfinex’s financial difficulties and lack of U.S. dollar reserves continued through
13
14   at least the end of 2018. For example, on October 18, 2018, Merlin again implored Crypto
15   Capital to release funds noting that Bitfinex could not handle a relatively small withdrawal of $5
16
     million. Merlin wrote to his contact at Crypto Capital, “the situation looks bad, we have more
17
     than 500 withdrawals pending and they keep coming in.”140 Merlin further noted, “we have
18
19   about 400 small wires pending. [T]he total amount is only 5M [$5 million], but we have to send

20   them out quickly, people are enraged.”141 Merlin elaborated, “too much money is trapped with
21   you and we are currently walking on a very thin crust of ice.”142
22
     137
23      Aff. of Brian M. Whitehurst at Ex. H, at 2-3, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No.
     450545/2019 (Apr. 25, 2019), NYSCEF No. 13.
24   138
        Aff. of Brian M. Whitehurst at Ex. I, at 2, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No.
     450545/2019 (Apr. 25, 2019), NYSCEF No. 14.
25
     139
        Aff. of Brian M. Whitehurst at ¶ 66, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
26   (Apr. 25, 2019), NYSCEF No. 1.
     140
27         Id. at ¶ 67.
     141
           Id.
28   142
           Id.


     CLASS ACTION COMPLAINT - 43
                          Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 46 of 97



                 127.       The inability of Bitfinex to meet even $5 million in client withdrawals strongly
 1
 2   suggests that, contrary to Tether’s statements, Bitfinex did not maintain a one-to-one USD₮ to

 3   U.S. dollar reserve. At no time did Bitfinex publicly disclose these serious financing and
 4   withdrawal issues.
 5
                 128.       In an in-person meeting on February 21, 2019, counsel for Bitfinex and Tether
 6
     explained to the New York OAG that they were in the process of discussing a “line of credit” to
 7
 8   Bitfinex from Tether of $600 to $700 million on the reserve funds backing USD₮ in order to

 9   make up for the inaccessible $850 million at Crypto Capital.143 On March 29, 2019, counsel for
10
     Bitfinex and Tether informed the New York OAG that the “line of credit” transaction closed on
11
     or about March 19, 2019.144 The total amount of the “line of credit” as of March 29, 2019, was
12
     $700 million.145 As of July 2, 2019, Bitfinex still owed $600 million of the “line of credit” to
13
14   Tether.146
15               129.       According to the Whitehurst Affirmation, counsel for Bitfinex and Tether
16
     articulated no benefit to Tether and asserted that that there was no apparent benefit to Tether, or
17
     holders of tether, from this transaction.147            Counsel for Bitfinex and Tether provided no
18
19   indication that the transaction would be disclosed to the public.148

20               130.       The New York OAG has asserted that, despite Bitfinex’s and Tether’s claims that
21   every USD₮ was backed by one U.S. dollar in its bank account, Tether had completely depleted
22
23   143
           Id. at ¶ 73.
24   144
           Id. at ¶ 85.
     145
25         Id.
     146
       Philip Rosenstein, Bitfinex Returns $100M to Tether Amid NY AG Proceeding, Law360 (July 2, 2019, 8:42 p.m.
26   EDT), https://www.law360.com/articles/1175142/bitfinex-returns-100m-to-tether-amid-ny-ag-proceeding.
     147
27      Aff. of Brian M. Whitehurst at ¶ 92, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019
     (Apr. 25, 2019), NYSCEF No. 1.
28   148
           Id. at ¶.73


     CLASS ACTION COMPLAINT - 44
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 47 of 97



     its USD reserves. The investigation also alleges that Bitfinex, which is owned and directed by
 1
 2   the same individuals as Tether, was strapped for cash due to its relationship with Crypto Capital.

 3   Both of these allegations suggest that Defendants had the motivation to manipulate Bitcoin
 4   during the Class Period.
 5
                131.     In addition, during the Class Period, Tether invested some of its USD reserves
 6
     into Bitcoin. According to an attorney for Bitfinex, “Tether actually did invest in instruments
 7
 8   beyond cash and cash equivalents, including bitcoin, they bought bitcoin.”149 Similarly, Bitfinex

 9   CFO Giancarlo Devasini admitted that he has “over 1.2 million tokens” with “the vast majority
10
     of them on Bitfinex.”150 Furthermore, Bitfinex Chief Strategy Officer Philip Potter admitted to
11
     “add[ing] to his position a little bit on the way down and sell[ing] a little bit on the way up.”151
12
     Defendants’ investments in Bitcoin provided a strong motivation to manipulate Bitcoin prices
13
14   during the Class Period by front running purchases ahead of USD₮ issuances and front running
15   sales after USD₮ issuances.
16
                132.     Plaintiffs’ analysis demonstrates that in months that Tether Defendants issued
17
     USD₮, there were large, negative Bitcoin returns on the day preceding month-end as detailed
18
19   below in Figure 18. This strongly suggests that there were large liquidations of Bitcoin holdings

20   on the day immediately preceding month-end during the months of USD₮ issuances. Moreover,
21   as Professors Griffin and Shams noted,152 this observed pattern is consistent with Defendants
22
     replenishing Tether reserves by month-end by selling Bitcoin. In addition, this effect is more
23
     pronounced in months with larger USD₮ issuances.
24
     149
25      John Isige, Tether (USDT) admits to investing reserves in Bitcoin and “other assets,” FXStreet (May 22, 2018
     11:31 a.m. GMT), https://www.fxstreet.com/cryptocurrencies/news/tether-usdt-admits-to-investing-reserves-in-
26   bitcoin-and-other-assets-201905221131.
     150
           Bitfinex’ed, supra note 83.
27
     151
           Coinspeaker Staff, supra note 81.
28   152
           Griffin & Shams, supra note 64, at 3-4.


     CLASS ACTION COMPLAINT - 45
                                                                 Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 48 of 97



      Figure 18 – Monthly USD₮ Issuances vs. Daily Bitcoin Returns on Day Preceding Month-
 1                            EndvsBetween
                 Monthly Issuances  Daily BTCOctober   2015
                                             Returns (End    and March
                                                          of Month, October2018
                                                                            2015 - March 2018)
                                                4%
 2
                                                2%
 3
       Daily Return, Day Preceding Month-End




                                                0%
 4
                                                                                                                    Regression R^2: 0.7
                                               -2%
 5
 6                                             -4%



 7                                             -6%



 8                                             -8%


 9                                             -10%


10                                             -12%
                                                      0           100,000   200,000   300,000   400,000       500,000     600,000    700,000   800,000   900,000
                                                                                                Total Monthly Issuance
11
12
     III.                                                    ECONOMIC ANALYSIS SUPPORTS THE EXISTENCE OF DEFENDANTS’
13                                                           MANIPULATION
14
                                                          133.     Plaintiffs’ economic analysis demonstrates that Tether’s USD₮ issuances
15
     coincided with a “U-shaped” pattern in Bitcoin prices, meaning that Bitcoin returns generally
16
     declined before USD₮ issuance dates and improved immediately after issuances. 153 This “U-
17
18   shaped” pattern strongly suggests that Defendants used USD₮s to stabilize and/or to reverse

19   falling Bitcoin prices between October 2014 and October 2019. Figures 19 and 20 below
20
     demonstrate that the “U-shaped” results of Plaintiffs’ analysis of Bitcoin prices prior to and after
21
     USD₮ issuance prices are robust under a mean methodology.154
22
23   153
        According to a March 20, 2019, presentation from Bitwise Asset Management, Inc., a cryptocurrency
24   consultancy and investment management firm, to the U.S. Securities and Exchange Commission, a large proportion
     of cryptocurrency trading volume amounts to “wash trading,” meaning that entities associated with the exchanges
25   are trading amongst themselves. To address issues of “wash trading,” Plaintiffs’ economic analysis used the market
     size and estimates for the Bitcoin market is sourced from exchange flagged as “clean” in the Bitwise report. See
26   Presentation to the U.S. Securities and Exchange Commission, Bitwise Asset Management (Mar. 19, 2019),
     https://www.sec.gov/comments/sr-nysearca-2019-01/srnysearca201901-5164833-183434.pdf.
27   154
        In 2017, there were multiple weeks where Tether Limited had multiple USDT issuances, sometimes on the same
     day. To ensure that the “before” and “after” periods are comparable across issuance dates, Plaintiffs clustered
28   issuances that occurred within five (5) days of each other as a single issuance.


     CLASS ACTION COMPLAINT - 46
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 49 of 97



      Figure 19 – Mean Bitcoin Returns Before and After Issuance Dates (October 2014 – May
 1                                            2018)
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13          134.     As demonstrated above in Figure 19, the mean return on Bitcoin was on a
14   decreasing trend in the days immediately preceding Tether Defendants’ USD₮ issuance.
15
     However, the mean return on Bitcoin reversed and the trend increased in the days following
16
     Tether Defendants’ USD₮ issuance. These results evidence the “U-shaped” pattern in Bitcoin
17
18   prices, demonstrating a declining mean in Bitcoin returns prior to USD₮ issuance dates and an

19   increasing mean in Bitcoin returns following issuances.
20          135.     Table 1 below further summarizes all USD₮ issuance dates, Bitcoin’s returns
21
     prior to and after the USD₮ issuance, and whether Bitcoin’s returns improved after the USD₮
22
     issuance.
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 47
                     Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 50 of 97



                                 Table 1 – Bitcoin Returns After USD₮ Issuance
 1
                          BTC Returns              BTC Returns              Return Im provem ent
 2   Issuance Date
                     5 Days Priorto Issuance   5 Days afterIssuance            AfterIssuance
      06/10/2014              -17.17%                  9.76%                          ✓
 3    18/05/2015              -1.79%                   2.46%                          ✓
      06/01/2016              0.32%                   4.50%                           ✓
 4    28/04/2016              -0.24%                  0.29%                           ✓
      12/07/2016              -4.38%                   2.24%                          ✓
 5    30/12/2016               8.31%                  20.13%                          ✓
       31/01/2017             2.09%                    5.87%                          ✓
 6    29/03/2017              0.82%                   9.98%                           ✓
      18/04/2017              -0.54%                  -0.37%                          ✓
 7    24/05/2017              7.90%                   18.10%                          ✓
      16/06/2017             -16.39%                   6.77%                          ✓
 8    24/06/2017              -7.83%                  -1.80%                          ✓
      10/07/2017              -7.10%                  17.75%                          ✓
 9    14/09/2017              -8.19%                  24.41%                          ✓
      28/10/2017              -3.79%                 23.04%                           ✓
10     26/11/2017             17.63%                  61.63%                          ✓
      28/12/2017              -0.63%                   3.72%                          ✓
11    14/01/2018              -2.30%                   8.45%                          ✓

12           136.      The “U-shaped” pattern of Defendants’ manipulation is particularly striking with
13
     respect to Tether’s first USD₮ issuance on October 6, 2014. In the five days prior to Tether’s
14
     October 6, 2014 USD₮ issuance, Bitcoin prices fell 13.95%. However, in the five days after
15
16   Tether’s issuance, Bitcoin’s pricing trend reversed, and Bitcoin prices increased 9.76%. See

17   Figure 20 below.
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 48
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 51 of 97



                   Figure 20 – Bitcoin Prices Before and After October 6, 2014 Issuance
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11          137.     Similarly, the “U-shaped” pattern in Bitcoin as a result of Defendants’

12   manipulation is particularly striking with respect to Tether’s USD₮ issuance on January 6, 2016.
13
     In the five days prior to Tether’s January 6, 2016 USD₮ issuance, Bitcoin prices fell 1.20%.
14
     However, in the five days after Tether’s issuance, Bitcoin’s pricing trend reversed, and Bitcoin
15
16   prices increased 4.50%. See Figure 21 below.

17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 49
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 52 of 97



       Figure 21 – Bitcoin Prices Before and After Large Flows of USD₮ from Bitfinex to U.S.
 1                                 Exchanges on January 6, 2016
 2
 3
 4
 5
 6
 7
 8
 9
10
11          138.     Defendants’ concerted actions and manipulation of Bitcoin prices are further
12
     evident in Bitcoin’s daily closing price before and after Tether’s June 16, 2017 issuance. Figure
13
     22 below demonstrates that the price of Bitcoin decreased approximately 14.86% in the five days
14
15   prior to Tether’s June 16, 2017 issuance. However, once Tether issued additional USD₮s on

16   June 16, 2017, the price of Bitcoin reversed and increased 9.06% over the following five days.
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 50
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 53 of 97



                   Figure 22 – Bitcoin Prices Before and After June 16, 2017 Issuance
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
                     A.     Economic Analysis of USD₮ Flows to U.S.-Based Cryptocurrency
12                          Exchanges Evidences “U-Shaped” Pattern

13          139.     An analysis of the flow of Tether’s newly issued USD₮s to the U.S.-based
14   cryptocurrency exchanges further evidences that Defendants employed USD₮ issuances and
15
     flows to manipulate the price of Bitcoin and create a “U-shaped” pattern, thus enabling
16
     Defendants to enjoy supra-competitive profits. In each of the examples below, Defendants
17
18   intentionally carried out their conspiracy with U.S.-based customers through U.S.-based

19   exchanges Bittrex and Poloniex. Moreover, Defendants affirmatively knew and intended their
20
     manipulative and anticompetitive conduct to affect the price of Bitcoin traded in the United
21
     States at the expense of Plaintiffs and class members.
22
23          140.     Specifically, Plaintiffs analyzed the prices of Bitcoin in the seventy-two (72)

24   hours before and after the largest 5% of newly issued USD₮ flows from Bitfinex to Bittrex and
25   Poloniex. Figure 23 below reveals a “U-shaped” pattern on an intraday level across the sample,
26
     consistent with the end-of-day results using the USD₮ issuance dates.
27
28


     CLASS ACTION COMPLAINT - 51
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 54 of 97



           Figure 23 – Normalized Average Bitcoin Intraday Prices Around Large Flows of USD₮
 1                  from Bitfinex to U.S. exchanges between October 2014 and May 2018
 2
 3
 4
 5
 6
 7
 8
 9
10
11              141.      The figure above provides strong economic evidence that Defendants, their co-
12
     conspirators, and John Does 1-50 sought to manipulate the price of Bitcoin through timed USD₮
13
     issuances and through transaction flow of USD₮ to Bittrex and Poloniex.
14
15              142.      Moreover, an intraday analysis of Tether’s newly issued USD₮s and the

16   subsequent flow reveal at least 236 potentially manipulative flow events. Plaintiffs developed an
17
     algorithm capable of mapping transactions between intermediary wallets and U.S. exchanges on
18
     the Tether blockchain. Using this model, Plaintiffs identified large flows155 of USD₮ that
19
20   followed negative Bitcoin returns for the prior twenty-four (24) hours, which are subsequently

21   followed by positive Bitcoin returns (i.e., a U-shaped pattern) after the USD₮ flows. Table 2
22   below identifies the largest individual USD₮ flows and the pre and post Bitcoin returns.
23
24
25
26
27
28   155
           For the model, Plaintiffs defined a “large” flow as a transfer greater than 200 Bitcoin equivalent in USDT.


     CLASS ACTION COMPLAINT - 52
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 55 of 97



                   Table 2 - Reversal of Bitcoin Returns Following Large USD₮ Flows
 1
 2
 3
 4
 5
 6
 7
 8          143.     In each example contained in Table 2, Defendants’ issuance of USD₮ flowed
 9
     directly to the United States, through Defendant Bitfinex to Defendants Bittrex and Poloniex. In
10
     each example, Defendants’ issuance of USD₮ followed a period of negative Bitcoin returns;
11
12   however, immediately following Defendants’ issuance of USD₮, Bitcoin returns switched

13   positive. For example, in the twenty-four (24) hours prior to December 10, 2017, Bitcoin prices
14
     declined approximately 11.5%. Defendants issued USD₮s equal to approximately 4,107 Bitcoin
15
     on December 10, 2017, and these transactions flowed through Defendants Bittrex and Poloniex.
16
     In the immediate twenty-four (24) hours after Defendants issuance, Bitcoin returned
17
18   approximately 20.5%. As a result of Defendants and their co-conspirators’ conduct, the price of

19   Bitcoin was artificially inflated in the days following December 10, 2017.
20
            144.     Similarly, in the twenty-four (24) hours prior to September 4, 2017, Bitcoin prices
21
     declined approximately 5.6%. Defendants issued USD₮s equal to approximately 3,916 Bitcoin
22
23   on September 4, 2017, and these transactions flowed through Bittrex and Poloniex. In the

24   immediate twenty-four (24) hours after Defendants issuance, Bitcoin returned approximately
25   3.4%. As a result of Defendants and their co-conspirators conduct, the price of Bitcoin was
26
     artificially inflated in the days following September 4, 2017.
27
28


     CLASS ACTION COMPLAINT - 53
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 56 of 97



            145.       As demonstrated through this example, Defendants and their co-conspirators
 1
 2   intentionally directed their unlawful conduct at the United States at the expense of U.S.

 3   counterparties.     By directing the issuances through U.S.-based cryptocurrency exchanges,
 4   Defendants and their co-conspirators knew the consequences of their manipulation would be felt
 5
     in the United States.
 6
            146.       In total, Plaintiffs identified 236 large flow events on 115 days. Each example
 7
 8   contains the U-shaped pattern with negative Bitcoin returns in the immediate twenty-four hours

 9   prior to the USD₮ issuance and Bitcoin returns positive immediately after the USD₮ issuance.
10
     Table 3 below, sorted by the hourly flow size in Bitcoin-denominated USD₮, identifies the
11
     USD₮ U-shaped issuances identified by Plaintiffs’ algorithm.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 54
             Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 57 of 97



                    Table 3 - U-Shaped Bitcoin Returns Following Large USD₮ Flows
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 55
             Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 58 of 97




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 56
             Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 59 of 97




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 57
             Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 60 of 97




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 58
             Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 61 of 97




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 59
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 62 of 97




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22          147.     As a result of Defendants and their co-conspirators’ conduct, Bitcoin returns
23   improved after approximately 78% of all the USD₮ flow events as identified by Plaintiffs’
24
     model. These results suggest that USD₮ issuances and flows are increasing demand for Bitcoin
25
     due to the subsequent increased transactions on U.S.-based cryptocurrency exchanges.
26
27          148.     Moreover, the Bitcoin returns across U.S.-based exchanges are highly correlated

28   such that manipulation of Bitcoin prices in one exchange affected the price of Bitcoin across

     CLASS ACTION COMPLAINT - 60
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 63 of 97



     competing exchanges. Figure 24 below demonstrates a strong statistical correlation in daily
 1
 2   Bitcoin returns between various U.S.-based exchanges between 2016 and 2018.

 3      Figure 24 - Correlation in Daily Bitcoin Returns Between U.S.-Based Cryptocurrency
                       Exchanges Between January 2016 and December 2018
 4
 5
 6
 7
 8
 9
10
            149.     As illustrated in Figure 24 above, there is approximately an 86% correlation
11
     between a change in the price of Bitcoin on Bittrex and the change in the price of Bitcoin on
12
     alternative exchanges, such as Coinbase and Gemini. The strong correlation in Bitcoin returns
13
14   means that Bitcoin prices run in parity, or lock-step, between the various exchanges. In other

15   words, any price movements in Bitcoin prices on Bittrex are immediately and correspondingly
16
     reflected in Bitcoin prices on other exchanges.
17
            150.     Defendants’ manipulative and anticompetitive conduct, targeted at Bittrex and
18
19   Poloniex customers in the United States, had a corresponding and immediate impact on other

20   U.S.-based exchanges, such as Coinbase, Gemini, and Kraken. Defendants intentionally directed
21   their unlawful conduct at the United States, which enabled Defendants and their co-conspirators
22
     to enjoy supra-competitive profits directly at the expense of U.S. market participants transacting
23
     in Bitcoin on other U.S.-based cryptocurrency exchanges.
24
25                   B.    CFTC and DOJ Investigations

26          151.     On November 20, 2018, the U.S. Department of Justice (“DOJ”) launched a
27   criminal investigation into Tether and Bitfinex, including whether the price of Bitcoin was being
28
     manipulated.    Bloomberg reported that, according to three people familiar with the DOJ’s

     CLASS ACTION COMPLAINT - 61
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 64 of 97



     investigation, the DOJ “recently homed in on suspicions that a tangled web involving Bitcoin,
 1
 2   Tether and crypto exchange Bitfinex might have been used to illegally move prices.”156

 3               152.     Part of the DOJ’s investigation examines whether the dramatic rise in USD₮s
 4   between 2016 and 2018 was “purely driven by actual demand, or was partially fanned on by
 5
     market tricks.”157 Prosecutors are also investigating whether Tether and/or Bitfinex employed
 6
     illegal strategies, such as spoofing.158 According to those familiar with the investigation, the
 7
 8   DOJ is examining how Tether issues new USD₮s and why those USD₮s predominantly enter the

 9   Bitcoin market through Bitfinex.159
10
                 153.     In addition to the DOJ investigation, Tether Limited and Bitfinex received
11
     subpoenas from the U.S. Commodity Futures Trading Commission (“CFTC”) investigating the
12
     relationship between Tether Limited and Bitfinex and the purported reserves.160
13
14               154.     According to those familiar with the investigations, the DOJ and the CFTC are
15   coordinating their examinations.161
16
17
18
19
20
21
22   156
        Matt Robinson & Tom Schoenberg, Bitcoin-Rigging Criminal Probe Focused on Tie to Tether, Bloomberg (Nov.
23   20, 2018, 4:00 a.m. EST), https://www.bloomberg.com/news/articles/2018-11-20/bitcoin-rigging-criminal-probe-is-
     said-to-focus-on-tie-to-tether.
24   157
           Id.
     158
25         Id.
     159
           Id.
26   160
        Matthew Leising, U.S. Regulators Subpoena Crypto Exchange Bitfinex, Tether, Bloomberg (Jan. 30, 2018, 12:52
27   p.m. EST), https://www.bloomberg.com/news/articles/2018-01-30/crypto-exchange-bitfinex-tether-said-to-get-
     subpoenaed-by-cftc.
28   161
           Robinson & Schoenberg, supra note 156.


     CLASS ACTION COMPLAINT - 62
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 65 of 97



     IV.             MANIPULATION OF BITCOIN FUTURES
 1
 2              155.     Bitcoin futures have traded on the CME since December 2017.162 Similarly,

 3   Bitcoin futures have traded on the Cboe since December 2017.163 Traders of these contracts,
 4   which are important tools used by Bitcoin traders to hedge and manage risks associated with
 5
     Bitcoin, were harmed by Defendants’ monopolization and manipulation, which was directed at
 6
     U.S.-based investors through Bittrex and Poloniex.
 7
 8              A.       Bitcoin Futures Market

 9              156.     A Bitcoin Futures contract is a standardized agreement to purchase or sell a
10
     participate asset at a predetermined date. Trading in CME Bitcoin Futures is subject to the rules
11
     and regulations of the CME, namely Chapter 350 (Bitcoin futures) of the CME Rulebook.164
12
     CME Bitcoin Futures are traded on the CME Globex electronic trading platform, and are cleared
13
14   through CME ClearPort.165 Similarly, trading in Cboe Bitcoin Futures is subject to the rules and

15   regulations of the Cboe, namely Chapter 13 (Cboe Bitcoin (USD) Futures Contract
16
     Specifications) of the Cboe Rulebook.166 Cboe Bitcoin Futures traded on the CBOEdirect all-
17
     electronic trading platform and were cleared by The Options Clearing Corporation.
18
19
20
21
22
23   162
        CME Bitcoin Futures Frequently Asked Questions, CME Group (Sept. 24, 2019),
     https://www.cmegroup.com/education/bitcoin/cme-bitcoin-futures-frequently-asked-questions.html.
24   163
        Evelyn Cheng, Cboe announces bitcoin futures to start trading Sunday, CNBC (Dec. 4, 2017, 8:33 a.m. EST),
25   https://www.cnbc.com/2017/12/04/cboe-announces-it-will-launch-bitcoin-futures-on-dec-10.html.
     164
        CME Rulebook, Chapter 350, CME Group,
26   https://www.cmegroup.com/content/dam/cmegroup/rulebook/CME/IV/350/350.pdf (last visited Oct. 8, 2019).
     165
27         CME Submission No. 17-417, supra note 11.
     166
        Cboe Futures Exchange, LLC Rulebook, Cboe Futures Exchange, LLC, Chapter 13 at 261,
28   https://cfe.cboe.com/publish/cferulebook/cfe-rule-book.pdf (last updated Aug. 16, 2019).


     CLASS ACTION COMPLAINT - 63
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 66 of 97



                             1. CME Bitcoin Futures
 1
 2               157.     Chapter 350 of the CME Rulebook sets forth the rules for trading in CME Bitcoin

 3   Futures, including the contract specifications, trading specifications, and settlement
 4   procedures.167 The CME did not list options on CME Bitcoin Futures during the Class Period.168
 5
                 158.     Each CME Bitcoin Futures contract is valued at 5 Bitcoins.169 The minimum tick
 6
     size of the CME Bitcoin Futures contract is $5.00 per bitcoin, or $25.00 per contract.170
 7
 8               159.     CME Bitcoin Futures contracts are quarterly and trade for the following contract

 9   months: March, June, September, and December.171 During the Class Period, the CME listed
10
     four CME Bitcoin Futures contracts at a time – two consecutive quarters and the nearest two
11
     serial months.172 For example, in July 2019, the CME listed CME Bitcoin Futures contracts for
12
     July 2019, August 2019, September 2019, and December 2019. Trading of CME Bitcoin Futures
13
14   contracts continues until 4:00 p.m. London time on the last Friday of each contract month. 173
15               160.     CME Bitcoin Futures are “cash” settled, meaning that contracts are financially
16
     settled based on the final mark-to-market by reference to the final settlement price.174 The final
17
     settlement price is equal to the CME CF Bitcoin Reference Rate (“BRR”). The BRR calculation
18
19   is based on the Bitcoin trades between 3:00 p.m. and 4:00 p.m. London time reported by the

20
21
22   167
           CME Rulebook, Chapter 350, supra note 164.
23   168
           CME Bitcoin Futures Frequently Asked Questions, supra note 162.
     169
24         CME Rulebook, Chapter 350, supra note 164.
     170
           Id.
25   171
        Bitcoin Futures Contract Specs, CME Group, https://www.cmegroup.com/trading/equity-index/us-
26   index/bitcoin_contract_specifications.html (last visited Nov. 21, 2019).
     172
           Id.
27
     173
           CME Rulebook, Chapter 350, supra note 162.
28   174
           CME Submission No. 17-417, supra note 11.


     CLASS ACTION COMPLAINT - 64
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 67 of 97



     following contributing constituent exchanges: Bitstamp, GDAX, itBit, and Kraken.175 The CME
 1
 2   describes the methodology of the BBR as follows:

 3               The [BRR] is calculated based on one hour of BTC:USD trades per day from 3:00
                 p.m. to 4:00 p.m. London time … (1) All Relevant Transactions are added to a
 4               joint list, recording the trade price and size for each transaction. (2) the list is
 5               partitioned into 12 equally-sized time intervals of 5 minutes each. (3) For each
                 partition separately, the volume-weighted median trade price is calculated from
 6               trades submitted by each exchange. (4) The BRR is then calculated as the equally-
                 weighted average of all partitions.176
 7
 8               161.     In 2018, the first full year of trading, market participants traded approximately

 9   $31 billion worth of CME Bitcoin Futures contracts. Figure 25 below depicts the trading volume
10
     and price of CME Bitcoin Futures from December 2017 through May 2019.
11
                               Figure 25 - CME Futures Price and Trading Volume
12
13
14
15
16
17
18
19
20
21
22
                 162.     Similarly, since launching CME Bitcoin Futures, the daily open interest has
23
     increased dramatically, which the CME stated “shows growing signs of institutional interest” in
24
25
26
27
     175
           Id.
28   176
           CME Bitcoin Futures Frequently Asked Questions, supra note 162, at 5.


     CLASS ACTION COMPLAINT - 65
                         Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 68 of 97



     Bitcoin futures.177 According to the CME, open interest in CME Bitcoin Futures hit a new
 1
 2   record on June 17, 2019. Figure 26 below illustrates the steady linear increase in CME Bitcoin

 3   Futures open interest.
 4                       Figure 26 - CME Bitcoin Futures Daily Open Interest Since Launch
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
                           2.     Cboe Bitcoin Futures
17
                 163.      Chapter 13 of the Cboe Futures Exchange, LLC (“Cboe”) Rulebook sets forth the
18
19   rules for trading in Cboe Bitcoin Futures (“XBT”), including the contract specifications, trading

20   specifications, and settlement procedures.178 The Cboe does not list options on Cboe Bitcoin
21   Futures.
22
                 164.      Each Cboe Bitcoin Futures contract is 1 Bitcoin.179 The minimum tick size of the
23
     Cboe Bitcoin Futures contract is 5.00 points USD/XBT, or $5.00 per contract.180
24
25   177
        CME Group (@CMEGroup), Twitter, (June 18, 2019, 12:09 p.m.),
26   https://twitter.com/CMEGroup/status/1141015074062110721.
     178
           Cboe Futures Exchange, LLC Rulebook, supra note 166, at 261.
27
     179
           Id.
28   180
           Id. at 264.


     CLASS ACTION COMPLAINT - 66
                         Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 69 of 97



                 165.       During the Class Period, the Cboe offered three near-term serial months and up to
 1
 2   three months on the March quarterly contract. 181 For example, in January 2019, the Cboe listed

 3   Cboe Bitcoin Futures contracts for January 2019, February 2019, March 2019, and April 2019.182
 4               166.       Trading of Cboe Bitcoin Futures contracts continues until 2:45 p.m. Chicago time
 5
     on the final settlement date.183 The final settlement date for the serial and quarterly contracts
 6
     was two business days prior to the third Friday of the contract month.184
 7
 8               167.       Cboe Bitcoin Futures are “cash” settled, meaning that contracts are financially

 9   settled based on the final mark-to-market by reference to the final settlement price.185 The final
10
     settlement price of Cboe Bitcoin Futures is calculated based on the U.S. dollar auction price of
11
     bitcoin on the Gemini Exchange.186 Specifically, the final settlement is based on Bitcoin prices,
12
     rounded to the nearest penny, at 4:00 p.m. Eastern time on the Gemini Exchange on the final
13
14   settlement date.187
15               168.       In 2018, the first full year of trading, market participants traded approximately $9
16
     billion worth of Cboe Bitcoin Futures contracts. Figure 27 below depicts the trading volume and
17
     price of Cboe Bitcoin Futures from December 2017 through May 2019.
18
19
20
21
22
23   181
           Id. at 261.
     182
24         Id.
     183
           Id.
25   184
           Id.
26   185
           Id. at 267-68.
     186
27     Andrew Lowenthal, Cboe Futures Exchange, LLC Product Certification for Bitcoin Futures Submission Number
     CFE-2017-18, Cboe, at 1 (Dec. 1, 2017), http://cfe.cboe.com/publish/CFErulefilings/SR-CFE-2017-018.pdf.
28   187
           Id.


     CLASS ACTION COMPLAINT - 67
                    Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 70 of 97



                            Figure 27 - Cboe Futures Price and Trading Volume
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12           169.     In March 2019, the Cboe discontinued Cboe Bitcoin Futures indicating that they

13   would not issue additional Cboe Bitcoin Futures contracts after June 2019.188
14           B.       Bitcoin Futures Prices are Inextricably Linked to the Price of Spot Bitcoin
15
             170.     The price of Bitcoin futures run in parity, or lockstep, with the spot price of
16
     Bitcoin traded on various Bitcoin exchanges.               Changes in the spot price of Bitcoin are
17
18   immediately and correspondingly reflected in the price of Bitcoin futures. Consequently, any

19   manipulation of Bitcoin will invariably result in a direct corresponding manipulation in the price
20
     of Bitcoin futures.
21
22
23
24
25
26
27
     188
        Alexander Osipovich, Cboe Abandons Bitcoin Futures, Wall Street Journal, (March 18, 2019, 9:00 a.m. ET)
28   https://www.wsj.com/articles/cboe-abandons-bitcoin-futures-11552914001.


     CLASS ACTION COMPLAINT - 68
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 71 of 97



            171.     Plaintiffs’ regression analysis demonstrates a strong, statistically significant
 1
 2   relationship between changes in the spot price of Bitcoin and the front month CME and Cboe

 3   Bitcoin futures contracts. Specifically, Figures 28 and 29 below depict the lockstep relationship
 4   between the prices of the front month Cboe Bitcoin Futures contract and Bitcoin from December
 5
     2017 through April 2019. The analysis below demonstrates that Cboe Bitcoin front-month
 6
     Futures contracts and Bitcoin are highly correlated, with a correlation coefficient generally
 7
 8   exceeding 90%.

 9                   Figure 28 - Correlation Between Bitcoin Spot and Cboe Futures
10
11
12
13
14
15
16
17
18
19
20
            172.     Plaintiffs’ analysis of the returns on Cboe futures and Bitcoin further
21
22   demonstrates that Cboe futures and Bitcoin are highly correlated, with a correlation coefficient of
23   89%.
24
25
26
27
28


     CLASS ACTION COMPLAINT - 69
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 72 of 97



                Figure 29 - Correlation Between Returns on Bitcoin and Cboe Futures
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11          173.     In addition, Figures 30 and 31 below depict the lockstep relationship between the

12   prices of the front month CME Bitcoin Futures contract and Bitcoin from December 2017
13
     through April 2019. The analysis below demonstrates that CME Bitcoin Futures contracts and
14
     Bitcoin are highly correlated with a correlation coefficient generally exceeding 90%.
15
16                   Figure 30 - Correlation Between Bitcoin Spot and CME Futures

17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 70
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 73 of 97



                 174.     Plaintiffs’ analysis of the returns on CME Bitcoin Futures and Bitcoin further
 1
 2   demonstrates that CME Bitcoin Futures and Bitcoin are highly correlated, with a correlation

 3   coefficient of 87%.
 4                  Figure 31 - Correlation Between Returns on Bitcoin and Cboe Futures
 5
 6
 7
 8
 9
10
11
12
13
14
15
                 175.     Moreover, the CME’s submission to the CFTC asserted, “[s]tatistical analysis
16
17   indicates that the BRR accurately reflects the underlying spot market.” 189 Further, according to

18   the CME, “[t]he BRR reflects the value of one bitcoin in U.S. dollars.” As of December 1, 2017,
19
     the CME largest variation of the CME Bitcoin Futures daily settlement to the constituent
20
     exchanges’ Bitcoin price has been 2.5%.190 In other words, according to the CME, the CME
21
22   Bitcoin Futures daily settlement price has at least a 97.5% lockstep price correlation with the

23   underlying constituent exchanges’ price of Bitcoin. The CME further acknowledges that market
24
25
26
27
     189
           CME Submission No. 17-417, supra note 11, at 5.
28   190
           Id.


     CLASS ACTION COMPLAINT - 71
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 74 of 97



     participants “can hedge Bitcoin exposure or harness its performance” using CME Bitcoin
 1
 2   Futures.191

 3               176.     Indeed, the Cboe’s submission to the CFTC asserted that Cboe Bitcoin Futures
 4   contracts could be used to hedge Bitcoin.192 The Cboe stated, “XBT futures could be used by a
 5
     number of different groups for commercial purposes, including by bitcoin miners to hedge
 6
     production costs, bitcoin merchant processors to hedge inventories, merchants that accept bitcoin
 7
 8   to hedge bitcoin inventories, and holders of bitcoin that wish to hedge their bitcoin holdings.”193

 9               177.     The inextricable link and lockstep pricing between Bitcoin futures and Bitcoin
10
     means any manipulation of the price of Bitcoin in either the spot or futures market by Defendants
11
     invariably distorts both the spot and futures market. Manipulation by Defendants in one market
12
     is quickly transmitted to the other market, resulting in artificial pricing in both.
13
14               C.       Defendants Manipulated Bitcoin Futures
15               178.     The specifics of Defendants’ Bitcoin futures trading activity are not public
16
     information since trading on the CME and Cboe is anonymous. Defendants do not publicly
17
     disclose their specific trading activity; however, this information can be obtained through
18
19   discovery from Defendants and third parties such as the CME and Cboe.

20               179.     Nevertheless, Plaintiffs’ analysis of Tether’s issuances strongly suggests that
21   Defendants, their co-conspirators, and John Doe 1-50 monopolization and manipulation had an
22
     immediate and corresponding impact on CME Bitcoin Futures and Cboe Bitcoin Futures
23
     settlements. Specifically, Plaintiffs’ analysis of USD₮ issuances demonstrates that same “U-
24
25   shaped” pattern in CME Bitcoin Futures and Cboe Bitcoin Futures prices, meaning that CME

26   191
         Now Available: Bitcoin Futures, CME Group, https://www.cmegroup.com/trading/bitcoin-futures.html (last
     visited Oct. 8, 2019).
27
     192
           Lowenthal, supra note 186, at 4.
28   193
           Id.


     CLASS ACTION COMPLAINT - 72
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 75 of 97



     Bitcoin Futures and Cboe Bitcoin Futures returns generally declined before USD₮ issuance dates
 1
 2   and improved immediately after issuances.     This “U-shaped” pattern strongly suggest that

 3   Defendants used USD₮ to stabilize and/or to reverse falling Bitcoin prices between October
 4   2014 and May 2018. Figures 32 and 33 below demonstrate that the “U-shaped” results of
 5
     Plaintiffs’ analysis of CME Bitcoin Futures prices prior to and after USD₮ issuance prices are
 6
     robust under a mean or median methodology.
 7
 8          Figure 32 – Median CME Bitcoin Futures Returns Before and After Issuance Dates
                                  (December 2017 – August 2019)
 9
10
11
12
13
14
15
16
17
18
19
20          180.     As illustrated above in Figure 32, the median price return prior to a USD₮

21   issuance is distinctly negative, meaning that CME Bitcoin Futures prices declined in the prior
22
     three days of a USD₮ issuance. However, on the day that Tether Defendants issue USD₮s, the
23
     pricing trend of CME Bitcoin Futures reverses from negative to positive and the median CME
24
     Bitcoin Futures prices increases. In the days following Tether Defendants’ issuance of USD₮,
25
26   the median CME Bitcoin Futures prices continued to decline.

27
28


     CLASS ACTION COMPLAINT - 73
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 76 of 97



              Figure 33 – Mean CME Bitcoin Futures Returns Before and After Issuance Dates
 1                                 (December 2017 – August 2019)
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
            181.     As illustrated above in Figure 33, the mean price return prior to a USD₮ issuance
13
14   is distinctly negative, meaning that CME Bitcoin Futures prices declined in the prior five days of

15   a USD₮ issuance. However, on the day that Tether Defendants issue USD₮s, the pricing trend
16   of CME Bitcoin Futures reverses from negative to positive and the mean CME Bitcoin Futures
17
     prices increases. In the days following Tether Defendants’ issuance of USD₮, the mean CME
18
     Bitcoin Futures prices continued to decline.
19
20          182.     Figure 34 below demonstrate that the “U-shaped” results of Plaintiffs’ analysis of

21   Cboe Bitcoin Futures prices prior to and after USD₮ issuance prices are robust under a median
22
     methodology.
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 74
                    Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 77 of 97



             Figure 34 – Median Cboe Bitcoin Futures Returns Before and After Issuance Dates
 1                                  (December 2017 – August 2019)
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12           183.     As illustrated above in Figure 34, the median price return prior to a USD₮
13   issuance is distinctly negative, meaning that Cboe Bitcoin Futures prices declined in the prior
14
     days of a USD₮ issuance. However, on the day that Tether Defendants issue USD₮s, the pricing
15
     trend of Cboe Bitcoin Futures reverses from negative to positive and the median Cboe Bitcoin
16
17   Futures prices increases. In the days following Tether Defendants’ issuance of USD₮, the

18   median Cboe Bitcoin Futures prices continued to decline.
19
             184.     Since the underlying commodity to CME and Cboe Bitcoin futures is inextricably
20
     linked to the spot price of Bitcoin, Defendants necessarily and directly caused prices of the CME
21
22   and Cboe Bitcoin futures to be artificial. For example, Defendants’ concerted actions and

23   manipulation of Bitcoin prices are further evident in the change in prices in CME Bitcoin Futures
24   and Cboe Bitcoin Futures prior to and after USD₮ issuances. Prior to Tether’s USD₮ issuance
25
     on December 28, 2017, the price of CME Bitcoin Futures and Cboe Bitcoin Futures declined;
26
     however, after Tether’s USD₮ issuance, Bitcoin futures prices increased over the following five
27
28   days.


     CLASS ACTION COMPLAINT - 75
                    Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 78 of 97



       Figure 35 – Bitcoin Futures Prices Before and After December 28, 2017 USD₮ Issuance
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12           185.     Defendants and their co-conspirators’ concerted actions and manipulation were
13
     also evident prior in the price changes prior to and after Tether’s USD₮ issuance. Prior to
14
     Tether’s January 22, 2018 USD₮ issuance, CME Bitcoin Futures and Cboe Bitcoin Futures
15
16   declined from approximately $14,000 per contract to approximately $10,500 per contract for an

17   approximately 25% decline. However, after Tether’s USD₮ issuance, the price of CME Bitcoin
18   Futures and Cboe Bitcoin Futures contracts stabilized and began to increase in the following
19
     days.
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 76
                    Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 79 of 97



        Figure 36 – Bitcoin Futures Prices Before and After January 22, 2018 USD₮ Issuance
 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
             186.     As a result of the significant correlation between Bitcoin and the CME and Cboe
13
14   Bitcoin Futures, Defendants and their co-conspirators’ manipulative conduct caused the prices of

15   the CME and Cboe Bitcoin Futures to be artificial, which in turn harmed class members that sold
16
     at artificially low prices or purchased at artificially high prices.
17
                                           RELEVANT MARKET
18
             187.     The relevant market in this case is the Bitcoin market, which comprises: (1) the
19
20   Bitcoin market; and (2) CME Bitcoin Futures, Cboe Bitcoin Futures, and any other Bitcoin

21   derivatives traded on a US-based futures exchange.
22
                                     CLASS ACTION ALLEGATIONS
23
             188.     Plaintiffs bring this action under Rules 23(a) and (b) of the Federal Rules of Civil
24
25   Procedure on behalf of himself and all members of the following class:

26           All persons, corporations, and other legal entities who transacted in Bitcoin or
             Bitcoin futures traded on the CME or Cboe between October 1, 2014 and Present
27           (“Class Period”). Excluded from the Class are Defendants, officers, directors, or
28           employees of any Defendant; any entity in which any Defendant has a controlling


     CLASS ACTION COMPLAINT - 77
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 80 of 97



            interest; any affiliate, legal representative, heir, assign, parent, subsidiary, or co-
 1          conspirator of any Defendant.
 2
            189.     The members of the Class are so numerous and geographically dispersed that
 3
     joinder is impracticable. There are at least hundreds of individuals and entities that transacted in
 4
 5   Bitcoin and/or Bitcoin futures during the Class Period at prices that were artificially impacted by

 6   Defendants’ wrongful conduct.       While the exact number of class members is unknown to
 7   Plaintiffs, members of the Class are ascertainable from readily identifiable information and
 8
     records in the possession of the CME, Cboe, or via third party exchanges.
 9
            190.     Plaintiffs’ claims are typical of the claims of the Class members. Plaintiffs and
10
11   members of the Class were damaged by the same wrongful conduct of Defendants.

12          191.     Plaintiffs will fairly and adequately protect and represent the interests of members
13   of the Class. The interests of Plaintiffs are coincidental with, and not antagonistic to, those of
14
     members of the Class.       Plaintiffs and all members of the Class are similarly affected by
15
     Defendants’ course of conduct.
16
17          192.     Plaintiffs are represented by sophisticated class action counsel with significant

18   experience in the prosecution and leadership of complex antitrust and commodities futures
19
     manipulation litigation.
20
            193.     There are questions of law and fact common to all Class members, which
21
22   predominate over questions that may affect only individual Class members. Questions of law

23   and fact common to Class members include, but are not limited to:
24                   a.     whether Defendants and their co-conspirators engaged in a combination
25
                            and conspiracy to fix, lower, maintain, stabilize and/or otherwise
26
                            manipulate Bitcoin;
27
28


     CLASS ACTION COMPLAINT - 78
             Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 81 of 97



               b.    whether Defendants and their co-conspirators engaged in a combination
 1
 2                   and conspiracy to fix, lower, maintain, stabilize and/or otherwise

 3                   manipulate Bitcoin futures;
 4             c.    the nature and duration of Defendants’ manipulation of USD₮, Bitcoin,
 5
                     and Bitcoin futures in furtherance of the conspiracy;
 6
               d.    the identity of the participants of the alleged conspiracy;
 7
 8             e.    whether Defendants’ manipulation of Bitcoin injected artificial prices into

 9                   Bitcoin futures that traded on the CME and Cboe;
10
               f.    whether Defendants’ alleged conspiracy violated federal antitrust laws;
11
               g.    whether Defendants’ conduct violated Sections 2 of the Sherman Act and
12
                     Section 4 of the Clayton Act;
13
14             h.    whether Defendants’ conduct violated Sections 6(c)(3), 9(a) and 22 of the
15                   CEA;
16
               i.    whether Defendants’ conduct violated Sections 6(c)(1) and 22 of the CEA;
17
               j.    whether Defendants acted to aid and abet violations of the CEA;
18
19             k.    whether John Doe Defendants’ unlawful conduct caused cognizable legal

20                   injury under the CEA;
21             l.    whether Defendants’ unlawful conduct caused Plaintiffs and Class
22
                     members to suffer injury;
23
               m.    whether Defendants and their co-conspirators fraudulently concealed their
24
25                   misconduct from Plaintiffs and Class members; and

26             n.    the appropriate class-wide measure of relief for the Defendants’ violations
27
                     of the CEA and antitrust laws.
28


     CLASS ACTION COMPLAINT - 79
                      Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 82 of 97



               194.     Class action treatment is a superior method for the fair and efficient adjudication
 1
 2   of this controversy because, among other things, such treatment will ensure that large numbers of

 3   similarly situated entities and individuals can prosecute their common claims in a single forum
 4   simultaneously, efficiently, and without the duplication of effort and expense that numerous
 5
     individual actions would engender. The benefits of proceeding through the class mechanism will
 6
     also provide injured entities and individuals with a method for obtaining redress for claims that
 7
 8   might not be practicable to pursue individually.

 9             195.     The prosecution of separate actions by individual members of the Class would
10
     create a risk of inconsistent or varying adjudication, establishing incompatible standards of
11
     conduct for Defendants. Plaintiffs are unaware of any special difficulty that is likely to be
12
     encountered in the management of this action that would preclude its maintenance as a class
13
14   action.
15             196.     Plaintiffs have defined the Class based on currently available information and
16
     expressly reserves the right to amend the definition of the Class, including, without limitation,
17
     the length of the Class Period.
18
19                                    FRAUDULENT CONCEALMENT

20             197.     During the Class Period, Defendants actively, fraudulently, and effectively
21   concealed their misconduct and manipulation of tether, Bitcoin, and Bitcoin futures, as alleged
22
     herein, from Plaintiffs and members of the Class. Defendants’ conspiracy was inherently self-
23
     concealing and relied on secrecy for its successful operation.
24
25             198.     Had the public learned that Defendants printed USD₮s, self-traded, had

26   insufficient reserves, could not withdraw, were in debt, created a Bitfinex loan to Defendants,
27
     and timed USD₮ issuances and Bitcoin transactions to artificially fix, depress, suppress, or
28


     CLASS ACTION COMPLAINT - 80
                       Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 83 of 97



     stabilize the price of Bitcoin, Defendants’ conspiracy would not have continued for as long as it
 1
 2   did.

 3              199.     Consequently, Plaintiffs could not, and thus did not, learn about Defendants’
 4   anticompetitive and manipulative conduct until recently.
 5
                200.     Reasonable due diligence could not have uncovered Defendants and their co-
 6
     conspirators’ manipulative conspiracy because of the opaque nature of Defendants’ reserves and
 7
 8   Defendants’ unlawful activities were inherently self-concealing.

 9              201.     Prior to March 2019, Tether repeatedly rejected concerns raised by market
10
     participants that Tether was not fully backed by a one-to-one reserve. In response to rising
11
     concerns in 2017 from market participants that Tether failed to maintain a one-to-one reserve for
12
     USD₮s, Tether commissioned a report from the audit firm Friedman LLP confirming that Tether
13
14   maintained a one-to-one reserve.194 These findings, which did not constitute an official audit,
15   could have been interpreted by market participants as a signal that Defendants maintained a one-
16
     to-one reserve, and thus Defendants were not engaging in extraordinary issuances of USD₮s.
17
                202.     As late as February 2019, Defendants continued to maintain that “[a]t any given
18
19   time the balance of fiat currency held in our reserves will be equal to (or greater than) the

20   number of tethers in circulation.”195 Similarly, as late as February 19, 2019, Tether’s own
21   website proclaimed that USD₮ is “100% Backed” stating, “[e]very tether is always backed 1-to-
22
     1, by traditional currency held in our reserves. So 1 USD₮ is always equivalent to 1 USD.”196
23
     Defendants’ repeated assurance that Tether maintained a one-to-one reserve for USD₮s provided
24
25
26
     194
           Memorandum Regarding Consulting Services Performed, supra note 110.
27
     195
           Tether: Fiat currencies on the Bitcoin Blockchain, supra note 10.
28   196
           Tether, WaybackMachine (Feb. 19, 2019), http://web.archive.org/web/20190219054619/https:/tether.to/.


     CLASS ACTION COMPLAINT - 81
                    Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 84 of 97



     further (incorrect) assurances to Plaintiffs and class members that the concerns expressed by
 1
 2   some market participants were unfounded.

 3           203.     On October 15, 2018, amid trading volatility and concerns about whether
 4   Defendants maintained sufficient reserves to maintain a one-to-one ratio, Leonardo Real, the
 5
     Chief Compliance Officer of Tether, released a statement defending Tether Limited’s reserves:
 6
             Tether is the leading provider of tokenized fiat currencies and is listed on many
 7
             exchanges worldwide. We would like to reiterate that although markets have
 8           shown temporary fluctuations in price, all USD₮ in circulation are sufficiently
             backed by U.S. dollars (USD) and that assets have always exceeded liabilities. In
 9           June 2018, a report from Freeh Sporkin & Sullivan, LLP (FSS), based on a
             random date balance inspection and a full review of relevant documentation of
10
             bank accounts, confirmed that all Tethers in circulation as of that date were
11           indeed fully backed by USD reserves.197

12           204.     The results of the report from Freeh Sporkin & Sullivan, LLP was published to
13
     market participants on June 20, 2018, and was available to all Bitfinex users including those in
14
     Washington. Like many of the consultants Defendants employed to reassure U.S. investors,
15
16   Freeh Sporkin & Sullivan, LLP is a U.S.-based law firm made up of three former federal judges.

17   The report was designed to instill confidence in U.S investors.
18           205.     On November 1, 2018, Tether Limited announced that it had established a
19
     banking relationship with Deltec Bank & Trust Limited (“Deltec”). 198                        To further squash
20
     concerns that Tether failed to maintain a one-to-one reserve, Deltec sent Tether Limited a letter
21
22   confirming “that, at the close of business on October 31, 2018, the portfolio cash value of your

23
24
25
26   197
        Omkar Godbole, Price of ‘Stable’ Cryptocurrency Tether Tanks to 18-Month Low, Coindesk (Oct. 16, 2018),
27   https://www.coindesk.com/price-of-tether-stablecoin-tanks-to-18-month-low.
     198
        Tether Banking Relationship Announced, Tether, https://tether.to/tether-banking-relationship-announced/ (last
28   visited Nov. 21, 2019).


     CLASS ACTION COMPLAINT - 82
                        Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 85 of 97



     [Tether Limited] account with our bank was US$1,831,322,828.”199 Tether Limited posted
 1
 2   Deltec’s letter, dated November 1, 2018, on Tether’s website.200

 3               206.     On December 18, 2018, Bloomberg News defended Tether’s reserves releasing an
 4   article stating that Bloomberg News reviewed four separate months of bank statements provided
 5
     by Tether evidencing that Tether maintained a one-to-one reserve. Bloomberg News wrote,
 6
     “[f]or example, one statement shows $2.2 billion was in Tether’s account at Puerto Rico’s Noble
 7
 8   Bank Ltd. on Jan. 31. That same day, 2.195 billion Tethers existed, according to data compiled

 9   by Coinmarketcap.com.”201             Bloomberg News further stressed the validity of the banking
10
     statements noting, “[t]he statements were provided by someone with access to the company’s
11
     records, and a government official confirmed their veracity.”202 The article further noted that
12
     fears of skeptics, that Tether failed to maintain a one-to-one reserve, “may be unfounded.”203
13
14               207.     After all these statements defending Defendants’ U.S. dollar reserves as sufficient
15   to maintain a one-to-one reserve, a person of ordinary intelligence would have believed that
16
     Defendants maintained a one-to-one reserve and were not engaging in any additional issuances
17
     of USD₮s or manipulation surrounding the timing the USD₮ issuances.                               There was no
18
19   information to the contrary until March 2019 when Tether Limited amended its prior description

20   of USD₮ to state that USD₮ is “backed by our reserves.”204 On April 30, 2019, Tether Limited
21
22
     199
23      Letter from Deltec Bank & Trust Limited to Tether Limited, Tether (Nov. 1, 2018), https://tether.to/wp-
     content/uploads/2018/11/Tether-Letter.pdf.
24   200
           Tether Banking Relationship Announced, supra note 198.
     201
25       Matthew Leising, Crypto-Mystery Clues Suggest Tether Has the Billions it Promised, Bloomberg News (Dec. 18,
     2018), https://www.bloomberg.com/amp/news/articles/2018-12-18/crypto-mystery-clues-suggest-tether-has-the-
26   billions-it-promised.
     202
           Id.
27
     203
           Id.
28   204
           FAQs, supra note 18.


     CLASS ACTION COMPLAINT - 83
                     Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 86 of 97



     disclosed through its counsel that Tether had backed only 74% of its then-outstanding $2.8
 1
 2   billion USD₮.205

 3            208.     Defendants also fraudulently concealed their misconduct from Plaintiffs, the
 4   Class, regulators, and the public through their own affirmative acts, including, among other
 5
     things: (i) continually representing to maintain a one-to-one U.S. dollar reserve to USD₮s, thus
 6
     misleading the public into believing that Defendants were not artificially printing USD₮s;
 7
 8   (ii) maintaining the secrecy of Tether’s issuances; and (iii) avoiding any discussion in public of

 9   the USD₮s issuances, Defendants’ Bitcoin holdings, or Defendants’ proprietary transactions.
10
              209.     As a result of Defendants’ fraudulent concealment, Plaintiffs and the Class were
11
     not aware of Defendants’ misconduct and were prevented from learning of the facts necessary to
12
     commence an action against Defendants for the wrongful conduct alleged in this Complaint until
13
14   regulators publicly acknowledged their investigations of Defendants. The facts necessary for
15   Plaintiffs to formulate the basis of a complaint and satisfy applicable pleading standards are
16
     within the exclusive control of Defendants, their co-conspirators, and the governmental
17
     regulatory authorities investigating the wrongful conduct alleged herein.
18
19            210.     Plaintiffs and members of the Class have acted diligently in seeking to bring their

20   claims promptly. Because of Defendants’ active steps, including fraudulent concealment of their
21   conspiracy and the wrongful conduct alleged herein, Plaintiffs assert that the applicable statutes
22
     of limitations on Plaintiffs’ claims were tolled. Defendants are also equitably estopped from
23
     asserting any statute of limitations defense.
24
25            211.     It was only after Plaintiffs conducted its own sophisticated analysis, and after

26   Tether Limited’s April 30, 2019 disclosure that Tether backed only 74% of reserves and engaged
27
     205
        Aff. of Stuart Hoegner at ¶ 33, In the Matter of the Inquiry vs. iFinex Inc., et al., Index No. 450545/2019 (Apr.
28   30, 2019), NYSCEF No. 24.


     CLASS ACTION COMPLAINT - 84
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 87 of 97



     in a fractional reserve system, that a person of ordinary intelligence would believe that
 1
 2   Defendants were engaging in monopolization and manipulation of Bitcoin. Given the multitude

 3   of statements in 2017 and 2018, Plaintiffs and class members had no reason to suspect – at least
 4   until the April 30, 2019, disclosure through Tether Limited’s counsel – that Defendants and their
 5
     co-conspirators were knowingly employing a fractional reserve system, using USD₮s issuances
 6
     and trading to manipulate Bitcoin, and artificially impacting the price of CME and Cboe Bitcoin
 7
 8   Futures contracts.      Indeed, as a result of Defendants’ fraudulent concealment of pertinent

 9   information, there were no facts prior to April 30, 2019 to put Plaintiffs and the Class on inquiry
10
     notice that a conspiracy to manipulation Bitcoin existed.
11
            212.     Due to Defendants’ fraudulent concealment of the conspiracy, any statute of
12
     limitations affecting or limiting the rights of action by Plaintiffs or class members was tolled
13
14   until April 30, 2019.
15          213.     The Defendants are equitably estopped from asserting that any otherwise
16
     applicable period of limitations has run.
17
18                                        CLAIMS FOR RELIEF
19                                  FIRST CLAIM FOR RELIEF
                          VIOLATION OF THE SHERMAN ACT, 15 U.S.C. § 2
20                            (Against all Defendants and John Does 1-50)
21
            214.     Plaintiffs incorporate the allegations in this Complaint by reference and reallege
22
     each preceding and succeeding paragraph as though fully set forth herein.
23
24          215.     In violation of Section 2 of the Sherman Act and Section 4 of the Clayton Act,

25   during the Class Period, Defendants monopolized and conspired to monopolize the Bitcoin
26   market.
27
28


     CLASS ACTION COMPLAINT - 85
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 88 of 97



            216.     During the Class Period, Defendants engaged in excess issuances of USD₮,
 1
 2   which were directed at U.S.-based traders through U.S.-based exchanges Bittrex and Poloniex

 3   and harmed futures traders on US-based exchanges. As major market participants, Defendants,
 4   through USD₮, maintained a near-monopoly on trading with Bitcoin.
 5
            217.     Defendants and their un-named co-conspirators engaged in                 continued
 6
     manipulation, understanding and conspiracy in an unreasonable and unlawful restraint of trade to
 7
 8   allocate the market for, and artificially fix, depress, suppress, or stabilize the price of Bitcoin.

 9   This conduct had the effect of manipulating the prices of Bitcoin and Bitcoin futures contracts
10
     traded on the CME and CBOE.
11
            218.     Approximately 70.00% of all total monthly Bitcoin volume that traded into fiat or
12
     stablecoin was executed using USD₮. At all times, Defendants controlled the issuances, timing,
13
14   and flow of issuances of USD₮. The conduct consisted of a concerted effort between and among
15   Defendants in furtherance of which they created artificial prices for Bitcoin and Bitcoin futures.
16
            219.     Defendants used their market power to artificially fix, suppress, or stabilize the
17
     price of Bitcoin on U.S.-based cryptocurrency exchanges which also manipulated Bitcoin prices
18
19   on domestic futures exchanges.

20          220.     Defendants’ conduct and its resulting impact on Bitcoin market occurred in or
21   affected interstate and international commerce.
22
            221.     The anticompetitive effects of Defendants’ conduct far outweighs any ostensible
23
     competitive benefits or justification.
24
25          222.     As a proximate result of Defendants and their un-named co-conspirators’

26   anticompetitive conduct, Plaintiffs and the Class have suffered injury to their business and
27
     property throughout the Class Period. Plaintiffs and members of the Class that traded Bitcoin
28


     CLASS ACTION COMPLAINT - 86
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 89 of 97



     futures and other derivatives linked to the price of Bitcoin during the Class Period were deprived
 1
 2   on normal, competitive trading patterns, and instead, were subjected to artificially determined

 3   prices as a result of Defendants’ unlawful and manipulative conduct.
 4          223.     Plaintiffs and members of the Class are entitled to treble damages for Defendants’
 5
     violations of the Sherman Act alleged herein, and a permanent injunction restraining Defendants
 6
     and their un-named co-conspirators preventing and restraining further violations.
 7
 8                          SECOND CLAIM FOR RELIEF
         MANIPULATION IN VIOLATION OF THE COMMODITY EXCHANGE ACT,
 9                                7 U.S.C. § 1, ET SEQ.
                   (Alleged against all Defendants and John Does 1-50)
10
            224.     Plaintiffs incorporate the allegations in this Complaint by reference and reallege
11
12   each preceding and succeeding paragraph as though fully set forth herein.

13          225.     The CME and Cboe are designated by the CFTC as a contract market pursuant to
14   Section 5 of the CEA, 7 U.S.C. § 7. Both the CME and Cboe submit to the CFTC various rules
15
     and regulations for approval through which these exchanges design, create the terms of and
16
     conduct trading in Bitcoin futures. The CME and Cboe are organized, centralized markets that
17
18   provide a forum for trading on-exchange Bitcoin futures.

19          226.     During the Class Period, Defendants and their co-conspirators, through the
20
     conduct of John Does 1-50, as detailed in this Complaint, specifically intended to and did cause
21
     unlawful and artificial manipulation of Bitcoin, the commodity underlying the CME and Cboe
22
     Bitcoin futures, and understood and knew to a substantial certainty that manipulation of Bitcoin
23
24   prices would have a direct and corresponding manipulative effect on CME and Cboe Bitcoin

25   futures prices and would cause corresponding actual damage to class members. The acts of
26
     manipulation described in this Complaint have no legitimate business purpose.
27
            227.     Defendants and their co-conspirators, through their own conduct and the conduct
28


     CLASS ACTION COMPLAINT - 87
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 90 of 97



     of John Does 1-50, had the ability to cause artificial prices in Bitcoin and Bitcoin futures.
 1
 2   Defendants, their co-conspirators, and John Does 1-50 did so through, among other things, their

 3   dominant position in the Bitcoin market, their superior access to information, their financial
 4   wherewithal, and their extensive involvement in USD₮s and Bitcoin.
 5
            228.       Defendants, through their own conduct and the conduct of John Does 1-50, in fact
 6
     caused artificial prices in the Bitcoin futures market.       Defendants’ and John Does 1-50’s
 7
 8   misconduct caused prices of CME and Cboe futures to be artificial.

 9          229.       Defendants, their co-conspirators, and John Does 1-50 activities alleged herein
10
     constitute unlawful manipulation of CME and Cboe Bitcoin futures and their underlying
11
     commodity in violation of Sections 6(c)(3), 7 U.S.C § 9(3), 9(a) of the CEA, 7 U.S.C. § 13(a),
12
     Section 22 of the CEA, 7 U.S.C. § 25(a), and CFTC Rule 180.2, 17 C.F.R. § 180.2.
13
14          230.       The manipulation by Defendants and their conspirators and agents, including John
15   Does 1-50, deprived members of the Class of a lawfully operating market during the Class
16
     Period and caused them to transact at artificial prices which directly led to injury and economic
17
     damages.
18
19          231.       Class members are each entitled to actual damages for the violations of the CEA

20   alleged herein.
21                           THIRD CLAIM FOR RELIEF
                     MANIPULATIVE AND DECEPTIVE DEVICE
22   IN VIOLATION OF THE COMMODITY EXCHANGE ACT, 7 U.S.C. §§1, ET SEQ. AND
23                 CFTC REGULATION 180.1(A), 17 C.F.R. §180.1(A)
                   (Alleged Against All Defendants and John Does 1-50)
24
            232.       Plaintiffs incorporate the allegations in this Complaint by reference and reallege
25
     each preceding and succeeding paragraph as though fully set forth herein.
26
27          233.       By Defendants’ intentional and reckless misconduct, Defendants each violated

28   Section 6(c)(1) of the CEA, 7 U.S.C. § 9, Section 22 of the CEA (7 U.S.C. § 25), and Regulation

     CLASS ACTION COMPLAINT - 88
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 91 of 97



     180.1(a), 17 C.F.R. § 180.1(a). Defendants’ misconduct caused prices of Bitcoin futures, and the
 1
 2   prices of Bitcoin underlying the Bitcoin futures, to be artificial during the Class Period.

 3          234.     Defendants, their co-conspirators, and John Does 1-50 intentionally or recklessly
 4   used or employed a manipulative device or artifice to defraud, and engaged in acts, practices,
 5
     and/or courses of business which operated as a fraud or deceit upon any person, in connection
 6
     with a sale or purchase of commodities in interstate commerce. This conduct, among other
 7
 8   things, included the making of untrue and misleading statements of material facts, or omitted

 9   material facts required to make the statements not misleading, such as:
10
            (a)      making untrue statements about Tether’s issuances of USD₮s;
11
            (b)      making untrue statements about Defendants’ U.S. dollar reserves;
12
            (c)      failing to disclose, and omitting, that Defendants and John Does 1-50 engaged in
13
14                   transactions designed to manipulate the price of Bitcoin to benefit their own
15                   trading positions;
16
            (d)      failing to disclose, and omitting, that Defendants and John Does 1-50 were
17
                     unlawfully conspiring between and among themselves to manipulate the price of
18
19                   Bitcoin and Bitcoin futures; and

20          (e)      issuing statements and directly engaging in acts alleged herein knowingly or with
21                   reckless disregard for the truth.
22
            235.     The manipulative and deceptive devices employed by Defendants and their
23
     conspirators and agents, including John Does 1-50, deprived members of the Class of a lawfully
24
25   operating market during the Class Period and caused them to transact at artificial prices which

26   directly led to injury and economic damages.
27
28


     CLASS ACTION COMPLAINT - 89
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 92 of 97



            236.       Class members are each entitled to actual damages for the violations of the CEA
 1
 2   alleged herein.

 3                           FOURTH CLAIM FOR RELIEF
       VICARIOUS LIABILITY FOR MANIPULATION OF BITCOIN FUTURES PRICES
 4             IN VIOLATION OF THE COMMODITY EXCHANGE ACT,
                                        7 U.S.C. § 2
 5                 (Alleged Against All Defendants and John Does 1-50)
 6
            237.       Plaintiffs incorporate the allegations in this Complaint by reference and reallege
 7
     each preceding and succeeding paragraph as though fully set forth herein.
 8
            238.       Defendants, their co-conspirators, and John Does 1-50 are liable under Section
 9
10   2(a)(1) of the CEA, 7 U.S.C. § 2(a)(1), for the manipulative acts of their agents, representatives

11   and/or other persons acting for them.
12
                                      FIFTH CLAIM FOR RELIEF
13                                     AIDING AND ABETTING
                       IN VIOLATION OF THE COMMODITY EXCHANGE ACT,
14                                       7 U.S.C. §§ 1, ET SEQ.
                           (Alleged Against All Defendants and John Does 1-50)
15
            239.       Plaintiffs incorporate the allegations in this Complaint by reference and reallege
16
17   each preceding and succeeding paragraph as though fully set forth herein.

18          240.       Defendants, their co-conspirators, and John Does 1-50 knowingly aided, abetted,
19   counseled, induced and/or procured the violations of the CEA alleged herein. Defendants, their
20
     co-conspirators, and John Does 1-50 did so knowing of other Defendants’ manipulation of
21
     Bitcoin and Bitcoin futures and their violations of the CEA, and willfully intended to assist these
22
23   manipulations to cause the prices of Bitcoin futures.          Through their aiding and abetting

24   violations, Defendants, their co-conspirators, and John Does 1-50 violated Section 22(a)(1) of
25
     the CEA, 7 U.S.C. § 25(a)(1).
26
            241.       Class members are each entitled to actual damages for the violations of the CEA
27
     alleged herein.
28


     CLASS ACTION COMPLAINT - 90
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 93 of 97



                                 SIXTH CLAIM FOR RELIEF
 1     VIOLATION OF RACKETEER INFLUENCED AND CORRUPT ORGANIZATION
                            ACT (RICO), 18 U.S.C. §§ 1961, ET SEQ.
 2      (Alleged Against Defendants iFinex Inc., BFXNA Inc., BFXWW Inc., DigFinex Inc.,
             Tether Holdings Limited, Tether Limited, Tether Operations Limited, and
 3                                Tether International Limited)
 4
            242.     Plaintiffs incorporate the allegations in this Complaint by reference and reallege
 5
     each preceding and succeeding paragraph as though fully set forth herein.
 6
 7          243.     Defendants’ collective association, including their participation together in

 8   issuing USD₮ and operating Bitfinex, constitutes a RICO enterprise in this case. At all relevant
 9   times, Defendants, including the employees that conducted Defendants’ affairs through illegal
10
     acts, knowingly and intentionally made false statements to U.S. Bitcoin investors and the public
11
     for the purpose of concealing Defendants’ scheme.
12
13          244.     Every member of the enterprise participated, in concert, in the process of

14   misrepresenting that USD₮ was backed by a 1:1 ratio by U.S. dollar reserves. Defendants did so
15
     knowingly and intentionally for the purpose and with the effect of concealing Defendants’
16
     extraordinary printing of USD₮, which in turn Defendants used to manipulate prices of Bitcoin
17
     and Bitcoin futures. Defendants earned millions, if not billions, of dollars in wrongful profits as
18
19   a result of their enterprise, which they shared with employees who perpetrated the scheme.

20          245.     Throughout the Class Period, Defendants have knowingly, intentionally, or
21
     recklessly engaged in an ongoing pattern of racketeering under 18 U.S.C. § 1962(c) by
22
     committing the predicate acts of mail fraud (18 U.S.C. § 1341), wire fraud (18 U.S.C. § 1343),
23
24   and bank fraud (18 U.S.C. § 1344(2)), by implementing the scheme to make false representations

25   regarding whether USD₮ was backed by a 1:1 ratio by U.S. dollar reserves, which enabled
26   Defendants to reap unlawful profits. Defendants transmitted or caused to be transmitted by
27
     means of “wire communication in interstate or foreign commerce, . . . writings, signs, signals,
28


     CLASS ACTION COMPLAINT - 91
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 94 of 97



     [and] pictures,” “for the purpose of executing such scheme or artifice,” including by: (i)
 1
 2   transmitting false statements and representations regarding whether USD₮ was backed by a 1:1

 3   ratio by U.S. dollar reserves; (ii) transmitting false statements regarding Tether Defendants’
 4   reserves; and (iii) transmitting e-mail communications relating to the process of determining,
 5
     making, or transmitting false statements regarding Defendants’ U.S. dollar reserves.
 6
            246.     Plaintiffs are informed and believe that Defendants used the mail and wires in
 7
 8   conjunction with reaching their agreement to falsely represent that USD₮ was backed by U.S.

 9   dollar reserves at a 1:1 ratio in order to further Defendants’ manipulation of Bitcoin. The
10
     racketeering scheme detailed above is based on Defendants’ use of the internet and/or the mail
11
     across state lines. These interstate channels to coordinate the scheme and transmit fraudulent
12
     statements to Plaintiffs and members of the class satisfies RICO’s requirement of an effect on
13
14   interstate commerce.
15          247.     Through the racketeering scheme detailed above, Defendants use their enterprise
16
     to improperly and unlawfully increase their profits to the detriment of Plaintiffs and members of
17
     the Class, who reside in differing states.
18
19                               SEVENTH CLAIM FOR RELIEF
                    UNJUST ENRICHMENT IN VIOLATION OF COMMON LAW
20                      (Alleged Against All Defendants and John Does 1-50)

21          248.     Plaintiffs incorporate the allegations in this Complaint by reference and reallege
22   each preceding and succeeding paragraph as though fully set forth herein.
23
            249.     Rather than compete honestly, Defendants, their co-conspirators, and John Does
24
     1-50 financially benefited through their unlawful acts, and it is unjust and inequitable for
25
26   Defendants to have enriched themselves through unlawful means.

27          250.     Defendants, their co-conspirators, and John Does 1-50 enjoyed supra-competitive
28
     profits at the expense of Plaintiffs and the class members and caused Plaintiffs and the class

     CLASS ACTION COMPLAINT - 92
                   Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 95 of 97



     members to receive less profits than they otherwise would have received absent Defendants
 1
 2   unlawful conduct.

 3          251.     Commodities futures trading is a zero-sum game. To the extent that Defendants,
 4   their co-conspirators, and John Does 1-50 benefits from their unlawful conduct, they necessarily
 5
     did so at the expense of Plaintiffs and members of the class.
 6
            252.     It is unjust and inequitable for Defendants, their co-conspirators, and John Does
 7
 8   1-50 to have enriched themselves in this matter at the expense of Plaintiffs and the class

 9   members.
10
            253.     Equity and good conscience require restitution by Defendants, their co-
11
     conspirators, and John Does 1-50.
12
            254.     Each Defendant should pay restitution or its own unjust enrichment to Plaintiffs
13
14   and the class members.
15          255.     Plaintiffs and class members are entitled to the establishment of a constructive
16
     trust impressed on the benefits to Defendants, their co-conspirators, and John Does 1-50 from
17
     their unjust enrichment and inequitable conduct.
18
19                                       PRAYER FOR RELIEF

20          256.     Plaintiffs, on behalf of himself and members of the Class, request relief as
21   follows:
22
            A.       That the Court determine that this action may be maintained as a class action
23
     under Rule 23(a) & (b) of the Federal Rules of Civil Procedure, that the Plaintiffs be named as a
24
25   Class Representatives of the Class, that the undersigned be named as Lead Class Counsel of the

26   Class, and direct that notice of this action, as provided by Rule 23(c)(2) of the Federal Rules of
27
     Civil Procedure, be given to Class members;
28


     CLASS ACTION COMPLAINT - 93
                    Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 96 of 97



               B.     That the Court enter an order declaring that Defendants’ actions, as set forth in
 1
 2   this Complaint, violate the federal laws set forth above;

 3             C.     That the Court award Plaintiffs and members of the Class damages, treble
 4   damages, punitive damages, and/or restitution in an amount to be determined at trial;
 5
               D.     That the Court issue appropriate injunctive and other equitable relief against
 6
     Defendants;
 7
 8             E.     That the Court award Plaintiffs pre- and post-judgment interest;

 9             F.     That the Court award Plaintiffs their costs of suit, including reasonable attorneys’
10
     fees and expenses, including costs of consulting and testifying experts; and,
11
               G.     That the Court award any and all such other relief as the Court may deem just and
12
     proper.
13
14                                             JURY DEMAND
15             Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs respectfully demand a trial
16
     by jury on all matters so triable.
17
     DATED: November 22, 2019                     By: /s/ Roger M. Townsend
18
                                                      Roger M. Townsend, WSBA #25525
19                                                    BRESKIN JOHNSON TOWNSEND, PLLC
                                                      1000 Second Avenue, Suite 3670,
20
                                                      Seattle, WA 98104
21                                                    Telephone: (206) 652-8660
                                                      E-mail: rtownsend@bjtlegal.com
22
                                                      KIRBY McINERNEY LLP
23
                                                      David E. Kovel (pro hac vice forthcoming)
24                                                    Karen M. Lerner (pro hac vice forthcoming)
                                                      Anthony E. Maneiro (pro hac vice forthcoming)
25                                                    250 Park Avenue, Suite 820
                                                      New York, NY 10177
26
                                                      Telephone: (212) 371-6600
27                                                    E-mails: dkovel@kmllp.com
                                                      klerner@kmllp.com
28                                                    amaneiro@kmllp.com

     CLASS ACTION COMPLAINT - 94
             Case 2:19-cv-01902 Document 1 Filed 11/22/19 Page 97 of 97



                                        RADICE LAW FIRM, P.C.
 1                                      John Radice (pro hac vice forthcoming)
 2                                      475 Wall Street
                                        Princeton, NJ 08540
 3                                      Telephone: (646) 245-8502
                                        E-mail: jradice@radicelawfirm.com
 4
 5                                      Counsel for Plaintiffs Eric Young and Adam
                                        Kurtz and the Proposed Class
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     CLASS ACTION COMPLAINT - 95
